Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 1 of 130




EXHIBIT A
1/12/2020              Case 1:20-cv-00536-SE Document
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                                                         Disbursements 05/04/20
                                                                        FEC     Page 2 of 130




Home > Campaign finance data > Browse data > Disbursements



  Disbursements

  Viewing 248 filtered results for:


      Data type: processed        MIND! FOR CONGRESS(C00660431)                     2017-2018




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     Recipient information
     Recipient name                                                 TWITTER


     Recipient city and state                                       SAN FRANCISCO.CA.94016




    Transaction information

     Amount                                                         $1.59


     Disbursement date                                              September 4.2018

     Report year                                                    2018


     Filing date

     Description                                                    AD BOOST


    Purpose category                                                OTHER


     Memo


     Memo code                                                      false


     Reported on                                                    Form 3 on line 17




    Committee information


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                                                       Disbursements 05/04/20
                                                                      FEC     Page 3 of 130
     Name                                                             MINDI FOR CONGRESS


     Designation                                                      Principal campaign committee

    Treasurer                                                         MESSMER,JUSTIN


    Committee city and state                                          PORTSMOUTH. N H.03802




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                                                        Disbursements05/04/20
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Home ) Campaign finance data > Browse data > Disbursements



  Disbursements

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    Recipient information
    Recipient name                                              TWITTER


    Recipient city and state                                    SAN FRANCISCO.CA.94016




    Transaction information

    Amount                                                      $50.00


    Disbursement date                                           August 13.2018

    Report year                                                 2018


    Filing date

    Description

    Purpose category                                            OTHER


    Memo


    Memo code                                                   false


    Reported on                                                 Form 3 on line 17




    Committee information


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                                                                    |  05/04/20
                                                                        FEC     Page 5 of 130
     Name                                                                    MINDI FOR CONGRESS


     Designation                                                             Principal campaign committee

    Treasurer                                                                MESSMER,JUSTIN


    Committee city and state                                                 PORTSMOUTH. NH,03802




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Home > Campaign finance data > Browse data > Disbursements



  Disbursements

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     Recipient name                                                TWITTER


     Recipient city and state                                      SAN FRANCISCO.CA.941031337




     Transaction information

     Amount                                                        $100.11


     Disbursement date                                             April 5,2018

     Report year                                                   2018


     Filing date

     Description                                                   ADVERTISING


     Purpose category                                              OTHER


     Memo


     Memo code                                                     false


     Reported on                                                   Form 3on line 17




     Committee information

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                                                                          FEC     Page 7 of 130
     Name                                                                     MINDI FOR CONGRESS


     Designation                                                              Principal campaign committee

     Treasurer                                                                MESSMER,JUSTIN


     Committee city and state                                                 PORTSMOUTH. NH.03802




Results per page: 100



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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 8 of 130




EXHIBIT B
                        Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 9 of 130

                                state of Caiifornia                                      |s
                                   Secretary of State
                              Statement of Information                                                                 G595613
              (Domestic Stock and Agricultural Cooperative Corporations)
                        FEES (Filing and Disclosure): $25.00.
                        If this is an amendment,see instructions.                                                     FILED
      IMPORTANT - READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                           In the office of the Secretary of State
1    CORPORATE NAME                                                                                              of the State of California

BON APPETIT MANAGEMENT CO.


                                                                                                                     APR-23 2019



2 CALIFORNIA CORPORATE NUMBER
                                              C1196975                                                           TTus Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3 If there have been any changes to the Information contained In the last Statement of Information filed with the California Secretary
  of State, or no statement of information has been previously filed, this form must be completed In its entirety.
  rn If there has been no change in any of the information contained in the last Statement of Information filed with ttie California Secretary
     —      of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not at}breviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                              CITY                      STATE       ZIP CODE
STE 400 100 HAMILTON AVENUE. PALO ALTO. CA 94301
5.   STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA. IF ANY                         CITY                      STATE       ZIP CODE
STE 400 100 HAMILTON AVENUE. PALO ALTO. CA 94301
6.   MAILING ADDRESS OF CORPORATION.IF DIFFERENT THAN ITEM 4                                   CITY                      STATE       ZIP CODE
TAX DEPT         2400 YORKMONT ROAD. CHARLOTTE. NC 28217



Names and Complete Addresses of the Following Officers (The corporation must list these three officers A comparable title for the specific
officer may be added; however,the preprinted titles on this form must not be altered.)
7    CHIEF EXECUTIVE OFFICER/                 ADDRESS                                          CITY                      STATE       ZIP CODE
    FEDELE BAUCCIO          STE 400, 100 HAMILTON AVENUE. PALO ALTO. CA 94391
8    SECRETARY                                ADDRESS                                          CITY                      STATE       ZIP CODE
    JENNIFER MCCONNELL             2400 YORKMONT ROAD. CHARLOTTE. NC 28217
9.   CHIEF FINANCIAL OFFICER/                 ADDRESS                                          CITY                      STATE       ZIP CODE
    ELIZABETH BALDWIN           STE 400 100 HAMILTON AVENUE. PALO ALTO. CA 94391
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if rtecessary)
10. NAME                                      ADDRESS                                          CITY                      STATE       ZIP CODE
 C PALMER BROWN             2400 YORKMONT ROAD. CHARLOTTE. NC 28217
11   NAME                                     ADDRESS                                          CITY                      STATE       ZIP CODE
 ADRIAN MEREDITH             2400 YORKMONT ROAD. CHARLOTTE. NC 28217
12   NAME                                     ADDRESS                                          CITY                      STATE       ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS. IF ANY 0
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P C Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Seaetary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14   NAME OF AGENT FOR SERVICE OF PROCESS
CORPORATION SERVICE COMPANY WHICH WILL DO BUSINESS IN CALIFORNIA AS CSC - LAWYERS INCORPORATING SERVICE
15 STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA. IF AN INDIVIDUAL CITY                                   STATE       ZIP CODE



Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
FOOD SERVICES

17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA ^CRETARY OF STATE. THE CORPORATION CERT1RES THE INFORMATION
     CONTAINED HEREIN.INCLUDING ANY ATTACHMENTS.IS TRUE /\ND CORRECT                                               i— V x i 11 f-M T- |-\
04/23/2019            PATTY CARPENTER                                           INCOME TAX ACCOUNTANT              EXHIBIT B
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                       TlUE                            SIGNATURE

si-200(REV 01/2013)                                                   Page 1 of 1                                 APPROVED BY SECRETARY OF STATE
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 10 of 130




EXHIBIT C
        Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 11 of 130




             NOTICE OF DISCRIMINATION IN A PUBLIC ACCOMODATION

Plaintiff:
Sensa Verogna @Basta Lies
SensaVerogna@gmai1.com

NH Department of Justice
Gordon J. MacDonald, Attorney General
Concord, New Hampshire, 03301


Effective Date: February 20, 2020

RE: Notice of Discrimination with Intent to File Lawsuit

Attorney General,

        1.     During the times relevant to these claims. Plaintiff was and still is a New

Hampshire resident.

        2.     As stipulated in 42 U.S. Code § 2000a-3, Plaintiff hereby gives notice the he

intends on filing legal claims under the pseudonym name stated above, against Defendants

Defendant(s) Twitter, Inc. of San Francisco and others unknown at this time. These claims arise

out of violations of42 U.S. Code SUBCHAPTER 11, PUBLIC ACCOMMODATIONS,and

Section 1981 of the Civil Rights Act of 1866.

        3.     Plaintiff intends to commence a lawsuit on behalf of himself, against Twitter, Inc.

due to, in part, the following:

        A. Legal claims arising out of defendants' unlawful & oppressive discrimination of

        services to the plaintiff in a public accommodation because he is Caucasian and is a

        Christian, with reckless disregard of the plaintiffs rights on December 5, 2019 in

        banning his account on Twitter.com because he was white and/or of Christian faith.

        B. Legal claims for lost equity for the approximately 3800'Tollowers" accounts deleted

        in the amount up to or exceeding $13,300.


                                                                                         Page 1 of 2


                                                                                 EXHIBIT C
        Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 12 of 130



       C. Legal claims for lost eamings.

       D. Legal claims of rights to make and enforce contracts.

       E. Legal claims to injunctive relief and enhanced compensatory damages.


       4. The foregoing is not intended to be a complete recitation of all applicable law and/or

Facts as this is only a notice and not a complaint under administrative rules, and shall not be

deemed to constitute a waiver or relinquishment of any of the Plaintiffs rights or remedies,

whether legal or equitable, all of which are hereby expressly reserved, including Plaintiffs right

to all available remedies against Twitter, Inc. or others unknown at this time, including but not

limited to the recovery of costs and attorneys' fees.



Sincerely,



N.H. Resident under the pseudonym name "Sensa Verogna".




                                                                                          Page 2 of 2


                                                                                  EXHIBIT C
       U.S. Postal
          Case     Service'"
                1:20-cv-00536-SE                                Document 1-2 Filed 05/04/20 Page 13 of 130
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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 14 of 130




EXHIBIT D
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    Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 16 of 130


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                  If you live outside the Eyropean Union or
                  European Economic Area including the
                  United States, the Twitter User Agreement
                  comprises these IjBrnis of Service, our Privacy
                  roncy, the SviueyFioiesjo^            and all
                  incorporated policies


                  If you live in the European Union or
                  European Economic Area, the Twitter User
                  Agreement comprises these Jems gi Service,
                  our l-orvacy FSriicy, the Twitter Rules and
                  I oiicies, and all incorporated policies.




                                                         EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 17 of 130




                                       Terms of Service

              If you live outside the European Union
              or European Economic Area including
             the United States

              The^^e Terms of Service ("Terms") govern your access to and use of our services,
              including our various websites. SMS. APIs, email notifications, applications,
              buttons, widgets, ads, commerce services, and our r i-
             (■ ,      ^                SH Y:;'r- ^ / 1'"-   YiYS. ;.'.'Y     --/i -3 Yrj-COrpYra*-- -
              iff,;   • )that link to these Terms (collectively, the "Services"), and any information,
              text, links, graphics, photos, audio, videos, or other materials or arrangements
              of materials uploaded, dov^nloaded or appearing on the Services (collectively
              referred to as "Content"). By using the Services you agree to be bound by these
              Terms.




              1 Who May Use
                      the Services
              You may use the Services only if you agree to form a binding contract v^/ith Twitter
              and are not a person barred from receiving services under the laws of the applicable
              jurisdiction. In any case, you must be at least 13 years old. or in the case of
              Periscope 16 years old, to use the Services. If you are accepting these Terms and
              using the Services on behalf of a company, organization, government, or other legal
              entity, you represent and warrant that you are authorized to do so and have the
              authority to bind such entity to these Terms, in which case the words "you" and
               ■your" as used in these Terms shall refer to such entity.




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 18 of 130




              2 Privacy
              Our p! ;-. j-y Friiry (npp       v a v. . 1           rpr;     .y) deschbes how w9 handle the
              information you provide to us when you use our Services. You understand that
              through your use of the Services you consent to the collection and use (as set forth
              in the Privacy Policy) of this information, including the transfer of this information to
              the United States. Ireland, and/or other countries for storage, processing and use
              by Twitter and its affiliates.




              3 Content on the Services
              You are responsible for your use of the Services and for any Content you provide,
              including compliance with applicable laws, rules, and regulations. You should only
              provide Content that you are comfortable sharing with others.


              Any use or reliance on any Content or materials posted via the Services or
              obtained by you through the Services is at your own risk. We do not endorse,
              support, represent or guarantee the completeness, truthfulness, accuracy, or
              reliability of any Content or communications posted via the Services or endorse
              any opinions expressed via the Services. You understand that by using the
              Ser\'ices, you may be exposed to Content that might be offensive, harmful,
              inaccurate or otherwise inappropriate, or in some cases, postings that have been
              mislabeled or are otherwise deceptive. All Content is the sole responsibility of the
              person who originated such Content. We may not monitor or control the Content
              posted via the Services and, we cannot take responsibility for such Content.


              We reserve the right to remove Content that violates the User Agreement,
              including for example, copyright or trademark violations or other intellectual
              property misappropriation, impersonation. unla\,vful conduct, or harassment.
              Information regarding specific policies and the process for reporting or appealing
              violations can be found in our Help Center                      ri-in
                A                                   a;      a -.. .ia         and nApsyvheiD.KyiAericcm/err
              ArAAiAFing-, A' A-AA                          , .itAi - j;-:- aaai~).




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 19 of 130

              If you believe that your Content has been copied in a way that constitutes
              copyright infringement, please report this by visiting our Copyright reporting
              form (m ic;; (                       f-; ni - firi ■ n) or contacting our designated copyright
              agent at;


              Twitter. Inc.

              Attn: Copyright Agent
              1355 Market Street. Suite 900
              San Francisco. CA 94103
              Reports:           iViirvT.viU-ijv::
              Email:                  ;:i'-rer-m

              (for content on Twitter)


              Twitter. Inc.

              Attn: Copyright Agent - Periscope
              1355 Market Street. Suite 900
              San Francisco. CA 94103
              Reports; r tp;;-' . --•y;av.     pp;,! r-
              Email:

              (for content on Periscope)




              Your Rights and Grant of Rights in the
              Content

              You retain your rights to any Content you submit, post or display on or through
              the Services. What's yours is yours — you own your Content (and your incorporated
              audio, photos and videos are considered part of the Content).


              By submitting, posting or displaying Content on or through the Seovices, you grant
              us a worldwide, non-exclusive, royalty-free license (with the right to subticense) to
              use. copy, reproduce, process, adapt, modify, publish, transmit, display and
              distribute such Content in any and all media or distribution methods nov; known or
              later developed (for clarity, these rights include, for example, curating, transforming,
              and translating). This license authorizes us to make your Content available to the
              rest of the world and to let others do the same. You agree that this license includes
              the right for Twitter to provide, promote, and improve the Services and to make
              Content submitted to or through the Services available to other companies,
              organizations or individuals for the syndication, broadcast, distribution, Retweet,
              promotion or publication of such Content on other media and services, subject to
              our terms and conditions for such Content use. Such additional uses by Twitter, or
              other companies, organizations or individuals, is made with no compensation paid
              to you with respect to the Content that you submit, post, transmit or otheavise
              make available through the Services as the use of the Services by you is hereby
              agreed as being sufficient compensation for the Content and grant of rights herein.


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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 20 of 130

              Tv^itter has an evolving set of rules for how ecosystem partners can interact with
              your Content on the Services. These rules exist to enable an open ecosystem with
              your rights in mind. You understand that we may modify or adapt your Content as
              it is distributed, syndicated, published, or broadcast by us and our partners and/or
              make changes to your Content in order to adapt the Content to different media.


              You represent and warrant that you have, or have obtained, all rights, licenses,
              consents, permissions, power and/or authority necessary to grant the rights granted
              herein for any Content that you submit, post or display on or through the Services.
              You agree that such Content will not contain material subject to copyright or other
              proprietary rights, unless you have necessary permission or are otherwise legally
              entitled to post the material and to grant Twitter the license described above.




             4 Using the Services
              Please review the 1 ■   • r .Rsii^n and      ~ (and, for Periscope, the Pvanscopn
                 fr;:;n..:atv (Ti;-   • at htip?: Av,      ntAnontnm), which are part of the User
              Agreement and outline what is prohibited on the Services. You may use the Services
              only in compliance with these Terms and all applicable laws, rules and regulations.


              Our Services evolve constantly. As such, the Services may change from time to
              time, at our discretion. We may stop (permanently or temporarily) providing the
              Services or any features within the Services to you or to users generally. We also
              retain the right to create limits on use and storage at our sole discretion at any
              time. We may also remove or refuse to distribute any Content on the Services,
              limit distribution or visibility of any Content on the service, suspend or terminate
              users, and reclaim usernames without liability to you.


              In consideration for Twitter granting you access to and use of the Services, you
              agree that Twitter and its third-party providers and partners may place advertising
              on the Services or in connection with the display of Content or information from
              the Services v/hether submitted by you or others. You also agree not to misuse our
              Ser\'ices, for example, by interfering with them or accessing them using a method
              other than the interface and the instructions that we provide. You may not do any
              of the following while accessing or using the Services; (i) access, tamper with, or
              use non-public areas of the Services. Twitter's computer systems, or the technical
              delivery systems of Twitters providers; (ii) probe, scan, or test the vulnerability of
              any system or network or breach or circumvent any security or authentication
              measures; (iii) access or search or attempt to access or search the Services by
              any means(automated or otherwise) other than through our currently available,
              published interfaces that are provided by Twitter (and only pursuant to the
              applicable terms and conditions), unless you have been specifically allowed to do
              so in a separate agreement with Twitter(NOTE; crawling the Services is permissible
              if done in accordance with the provisions of the robots.txt file, however, scraping

                                                                       EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 21 of 130

              the Services without the prior consent of Twitter is expressly prohibited);(Iv) forge
              any TCP/IP packet header or any part of the header information in any email or
              posting, or in any way use the Services to send altered, deceptive or false source-
              identifying information; or (v) interfere with, or disrupt,(or attempt to do so), the
              access of any user, host or network, including, without limitation, sending a virus,
              overloading, flooding, spamming. mail-bombing the Services, or by scripting the
              creation of Content in such a manner as to interfere with or create an undue burden
              on the Services. We also reserve the right to access, read, preserve, and disclose
              any information as we reasonably believe is necessary to (i) satisfy any applicable
              law. regulation, legal process or governmental request, (ii) enforce the Terms,
              including investigation of potential violations hereof,(iii) detect, prevent, or
              otherwise address fraud, security or technical issues,(iv) respond to user support
              reqtiests. or (v) protect the rights, property or safety of Twitter, its users and the
              public. Twitter does not disclose personally-identifying information to third parties
              except in accordance with our Privacy Poiicy.


              If you use developer features of the Services, including but not limited to Tvvirter for
              VVc-.bsites (http;s;/VQ'0y.tw[tU5r.cqm/'\veq/g     Twitter Ca.'ds (httpsi/.Adev.tv/itter.
              com/caraswAovsTview^ Public API (nTtps://dev.tvV!tt0r.Gom/streaminG/public), or Sign
                             (ndpspydeypwinercofT^                     you agree to our Dsveloper
                          (hnpSj/y^ev.Jyritiey,cofW^^                              and Developer
              .pQiitiy (https://dev.twitter.corn/ovg-rviQw/tertTis/poiicy). if you want to reproduce,
               modify, create derivative works, distribute, sell, transfer, publicly display, publicly
               perform, transmit, or otheavise use the Services or Content on the Services, you
              must use the interfaces and instructions we provide, except as permitted through
              the Twitter Services, these Terms, or the terms provided on dev.tjyyitter.cpn^^ If you
              are a security researcher, you are required to comply with the rules of the Twitter
              VAiiOvsrahiiity Reporti            (rA/ITci/zh^dkero^^                The requirements
              set out in the preceding paragraph may not apply to those participating in Twitter's
              Vulnerability Reporting Program.


              If you use advertising features of the Services, you must agree to our Twitter Master
              Services j^reejTieni (htuysi/^dstwittery^


              If you use Super Hearts, Coins, or Stars on Periscope, you must agree to our Super
              Hfyiids TernTS (hUps://!ec^ai.tv.'•it•i:9r.co^•^/Q^/pe^scope/supQf7'lerrns.




                                                                        EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 22 of 130


              Your Account

              You may need to create an account to use some of our Services. You are
              responsible for safeguarding your account, so use a strong password and limit its
              use to this account. We cannot and will not be liable for any loss or damage arising
              from your failure to comply with the above.


              You can control most communications from the Services. We may need to
              provide you with certain communications, such as service announcements
              and administrative messages. These communications are considered part of
              the Services and your account, and you may not be able to opt-out from receiving
              them. If you added your phone number to your account and you later change or
              deactivate that phone number, you must update your account information to help
              prevent us from communicating with anyone who acquires your old number.




              Your License to Use the Services

              Twitter gives you a personal, worldwide, royalty-free, non-assignable and non
              exclusive license to use the softv/are provided to you as part of the Sen/ices.
              This license has the sole purpose of enabling you to use and enjoy the behefit
              of the Services as provided by Twitter, in the manner permitted by these Terms.

              The Services are protected by copyright, trademark, and other laws of both the
              United States and other countries. Nothing in the Terms gives you a right to use
              the Twitter name or any of the Twitter trademarks, logos, domain names, other
              distinctive brand features, and other proprietan/ rights. All right, title, and interest
              in and to the Serv'ices (excluding Content provided by users) are and will remain
              the exclusive property of Twitter and its licensors. Any feedback, comments, or
              suggestions you may provide regarding Twitter, or the Services is entirely voluntary
              and we will be free to use such feedback, comments or suggestions as we see fit
              and without any obligation to you.




              Ending These Terms

              You may end your legal agreement with Twitter at any time by deactivating your
              accounts and discontinuing your use of the Services. See
                 Tnar:an|no-yo-r-accour;t.;i;iO                                   (and for Periscope,
              '•i':rs-//h9;n.nscn,tv;ci i?'omer/poria!                   for instructions on how
              to deactivate your account and the Privacy Policy for more information on what
              happens to your information.


                                                                        EXHIBIT D-1
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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 23 of 130

              We may suspend or terminate your account or cease providing you with all or
              part of the Services at any time for any or no reason, including, but not limited to,
              if we reasonably believe: (!) you have violated these Terms or the Twitter Ri!'es.arKj
              P:       or           Cprnrni                   (ii) you create risk or possible legal
              exposure for us: (iii) your account should be removed due to unlawful conduct,
              (iv) your account should be removed due to prolonged inactivity; or (v) our provision
              of the Services to you is no longer commercially viable. We will make reasonable
              efforts to notify you by the email address associated v/ith your account or the next
              time you attempt to access your account, depending on the circumstances. In all
              such cases, the Terms shall terminate, including, without limitation, your license
              to use the Services, except that the following sections shall continue to apply:
              II. III. V, and VI. If you believe your account was terminated in error you can file an
              appeal following the steps found in our 1 G;; ^ Cp.;tP''        '
              p: i - a'    ■ o;     1.^;;-; V i). For the avoidance of doubt, these Terms survive the
              deactivation or termination of your account.




             5 Disclaimers and
                    Limitations of Liability
              The Services are Available "AS-IS"

              YoLjr access to and use of the Services or any Content are at your own risk. You
              understand and agree that the Services are provided to you on an "AS IS" and
              "AS AVAILABLE" basis. The "Twitter Entities" refers to Twitter, its parents, affiliates,
              related companies, officers, directors, employees, agents, representatives, partners,
              and licensors. Without limiting the foregoing, to the maximum extent permitted
              under applicable law, THE TWITTER ENTITIES DISCLAIM ALL WARRANTIES AND
              CONDITIONS. WHETHER EXPRESS OR IMPLIED, OF MERCHANTABILITY,
              FITNESS FOR A PARTICULAR PURPOSE, OR NON-INFRINGEMENT. The Twitter
              Entities make no warranty or representation and disclaim all responsibility and
              liability for: (i) the completeness, accuracy, availability, timeliness, security or
              reliability of the Services or any Content; (ii) any harm to your computer system,
              loss of data, or other harm that results from your access to or use of the Services
              or any Content; (iii) the deletion of, or the failure to store or to transmit, any Content
              and other communications maintained by the Services; and (iv) whether the
              Services will meet your requirements or be available on an uninterrupted, secure,
              or error-free basis. No advice or information, whether oral or written, obtained from
              the Twitter Entities or through the Services, will create any warranty or
              representation not expressly made herein.




                                                                         EXHIBIT D-1
              Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 24 of 130

                            Limitation of Liability
% '■ ■ ■ ■■

                            TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW. THE TWITTER
                            ENTITIES SHALL NOT BE LIABLE FOR ANY INDIRECT, INCIDENTAL, SPECIAL,
                            CONSEOUENTIAL OR PUNITIVE DAMAGES. OR ANY LOSS OF PROFITS OR
                            REVENUES. WHETHER INCURRED DIRECTLY OR INDIRECTLY. OR ANY LOSS
                            OF DATA. USE, GOODWILL. OR OTHER INTANGIBLE LOSSES. RESULTING
                            FROM (I) YOUR ACCESS TO OR USE OF OR INABILITY TO ACCESS OR USE
                            THE SERVICES: (ii) ANY CONDUCT OR CONTENT OF ANY THIRD PARTY ON
                            THE SERVICES. INCLUDING WITHOUT LIMITATION, ANY DEFAMATORY,
                            OFFENSIVE OR ILLEGAL CONDUCT OF OTHER USERS OR THIRD PARTIES:
                            (III) ANY CONTENT OBTAINED FROM THE SERVICES; OR (iv) UNAUTHORIZED
                            ACCESS, USE OR ALTERATION OF YOUR TRANSMISSIONS OR CONTENT. IN
                            NO EVENT SHALL THE AGGREGATE LIABILITY OF THE TWITTER ENTITIES
                            EXCEED THE GREATER OF ONE HUNDRED U.S. DOLLARS (U.S. $100.00) OR
                            THE AMOUNT YOU PAID TWITTER. IF ANY, IN THE PAST SIX MONTHS FOR
                            THE SERVICES GIVING RISE TO THE CLAIM. THE LIMITATIONS OF THIS
                            SUBSECTION SHALL APPLY TO ANY THEORY OF LIABILITY. WHETHER BASED
                            ON WARRANTY. CONTRACT, STATUTE. TORT(INCLUDING NEGLIGENCE)OR
                            OTHERWISE, AND WHETHER OR NOT THE TWITTER ENTITIES HAVE BEEN
                            INFORMED OF THE POSSIBILITY OF ANY SUCH DAMAGE, AND EVEN IF
                            A REMEDY SET FORTH HEREIN IS FOUND TO HAVE FAILED OF ITS ESSENTIAL
                            PURPOSE.




                           6 General
                            We may revise these Terms from time to time. The changes will not be retroactive,
                            and the most current version of the Terms, which will always be at iwitie/xom. tos,
                            will govern our relationship with you. We will try to notify you of material revisions,
                            for example via a service notification or an email to the email associated with your
                            account. By continuing to access or use the Services after those revisions become
                            effective, you agree to be bound by the revised Terms.


                            The laws of the State of California, excluding its choice of law provisions, will
                            govern these Terms and any dispute that arises between you and Twitter. All
                            disputes related to these Terms or the Services will be brought solely in the federal
                            or state courts located in San Francisco County. California, United States, and you
                            consent to personal jurisdiction and waive any objection as to inconvenient forum.




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 25 of 130
             if you aro a federal, state, or local government entity in the United States using
             the Services in your official capacity and legally unable to accept the controlling
             law, jurisdiction or venue clauses above, then those clauses do not apply to you.
             For such U.S. federal government entities, these Terms and any action related
             thereto v/i!l be governed by the laws of the United States of America (without
             reference to conflict of laws) and, in the absence of federal law and to the extent
             permitted under federal law, the lav/s of the State of California (excluding choice
             of law).


             In the event that any provision of these Terms is held to be invalid or unenforceable,
             then that provision will be limited or eliminated to the minimum extent necessary,
             and the remaining provisions of these Terms will remain in full force and effect.
             Twitters failure to enforce any right or provision of these Terms will not be deemed
             a waiver of such right or provision.


             These Terms are an agreement between you and Twitter, Inc., 1355 Market Street,
             Suite 900, San Francisco, OA 94103 U.S.A. If you have any questions about these
             Terms, please contact ijs.




              Effective: January 1=^ 2020




                                                                                 EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 26 of 130




              Twitter Terms of Service

              If you live in the European Union
              or European Economic Area

              These Terms of Service ("Terms") govern your access to and use of our services,
              including our various websites, SMS, APIs, email notifications, applications,
              buttons, widgets, ads, commerce services, and our other covered services


                      )that link to these Terms (collectively, the "Services"), and any information,
              text, links, graphics, photos, audio, videos, or other materials or arrangements of
              materials uploaded, downloaded or appearing on the Services (collectively referred
              to as "Content"). By using the Services you agree to be bound by these Terms.




              1 Who May Use
                   the Services
              You may use the Services only if you agree to form a binding contract with Twitter
              and are not a person barred from receiving services under the laws of the applicable
              jurisdiction. In any case, you must be at least 13 years old, or in the case of
              Periscope 16 years old, to use the Services. If you are accepting these Terms and
              using the Services on behalf of a company, organization, government, or other legal
              entity, you represent and warrant that you are authorized to do so and have the
              authority to bind such entity to these Terms, in which case the words "you" and
              "your" as used in these Terms shall refer to such entity.




                                                                      EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 27 of 130




             2 Privacy
              Our                 (                  ^ .       T    .) describes how we handle the
              information you provide to us when you use our Services. You understand that
              through your use of the Services you consent to the collection and use (as set forth
              in the Privacy Policy) of this information, including the transfer of this information to
              the United States, Ireland, and/or other countries for storage, processing and use
              by Twitter and its affiliates.



             3 Content on the Services
              You are responsible for your use of the Services and for any Content you provide,
              including compliance with applicable laws, rules, and regulations. You should only
              provide Content that you are comfortable sharing with others.


              Any use or reliance on any Content or materials posted via the Services or
              obtained by you through the Services is at your own risk. We do not endorse,
              support, represent or guarantee the completeness, truthfulness, accuracy, or
              reliability of any Content or communications posted via the Services or endorse
              any opinions expressed via the Services. You understand that by using the
              Services, you may be exposed to Content that might be offensive, harmful,
              inaccurate or otherwise inappropriate, or in some cases, postings that have been
              mislabeled or are otherwise deceptive. All Content is the sole responsibility of the
              person who originated such Content. We may not monitor or control the Content
              posted via the Services and, we cannot take responsibility for such Content.


              We reserve the right to remove Content that violates the User Agreement, including
              for example, copyright or trademark violations or other intellectual property
              misappropriation, impersonation, unlawful conduct, or harassment. Information
              regarding specific policies and the process for reporting or appealing violations can
              be found in our Help Center(            o    :        = a              p-; ■: ^   ^ if




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 28 of 130

              If you believe that your Content has been copied in a way that constitutes
              copyright infringement, please report this by visiting our Copyright reporting
              form(M ■        . ; ;:              : : ;j) or contacting our designated copyright
              agent at:


              Twitter, Inc.
              Attn: Copyright Agent
              1355 Market Street, Suite 900
              San Francisco, CA 94103
              Reports: i                             r-..' ::::roa
              Email:          i;
              (for content on Twitter)


              Twitter, Inc.
              Attn: Copyright Agent - Periscope
              1355 Market Street, Suite 900
              San Francisco, CA 94103
              Reports: :      :    , :. ;    ,   ;    -
              Email: .. ^            • : ;

              (for content on Periscope)




              Your Rights and Grant of Rights in the
              Content

              You retain your rights to any Content you submit, post or display on or through the
              Services. What's yours is yours — you own your Content(and your incorporated
              audio, photos and videos are considered part of the Content).

              By submitting, posting or displaying Content on or through the Services, you grant
              us a worldwide, non-exclusive, royalty-free license (with the right to sublicense) to
              use, copy, reproduce, process, adapt, modify, publish, transmit, display and
              distribute such Content in any and all media or distribution methods now known or
              later developed (for clarity, these rights include, for example, curating, transforming,
              and translating). This license authorizes us to make your Content available to the
              rest of the world and to let others do the same. You agree that this license includes
              the right for Twitter to provide, promote, and improve the Services and to make
              Content submitted to or through the Services available to other companies,
              organizations or individuals for the syndication, broadcast, distribution, Retweet,
              promotion or publication of such Content on other media and services, subject to
              our terms and conditions for such Content use. Such additional uses by Twitter, or
              other companies, organizations or individuals, is made with no compensation paid
              to you with respect to the Content that you submit, post, transmit or otherwise
              make available through the Services as the use of the Services by you is hereby
              agreed as being sufficient compensation for the Content and grant of rights herein.


                                                                     EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 29 of 130




              Twitter has an evolving set of rules for how ecosystem partners can interact with
              your Content on the Services. These rules exist to enable an open ecosystem with
              your rights in mind. You understand that we may modify or adapt your Content as it
              is distributed, syndicated, published, or broadcast by us and our partners and/or
              make changes to your Content in order to adapt the Content to different media.

              You represent and warrant that you have, or have obtained, all rights, licenses,
              consents, permissions, power and/or authority necessary to grant the rights granted
              herein for any Content that you submit, post or display on or through the Services.
              You agree that such Content will not contain material subject to copyright or other
              proprietary rights, unless you have necessary permission or are otherwise legally
              entitled to post the material and to grant Twitter the license described above.



             4 Using the Services
              Please review the i . : ^ r R .      :         (and, for Periscope, the P . s: : ■
                           P i r:      at              • '    •   ). which are part of the User
              Agreement and outline what is prohibited on the Services. You may use the
              Services only in compliance with these Terms and all applicable laws, rules
              and regulations.


              Our Services evolve constantly. As such, the Services may change from time to
              time, at our discretion. We may stop (permanently or temporarily) providing the
              Services or any features within the Services to you or to users generally. We also
              retain the right to create limits on use and storage at our sole discretion at any time.
              We may also remove or refuse to distribute any Content on the Services, limit
              distribution or visibility of any Content on the service, suspend or terminate users,
              and reclaim usernames without liability to you.


              In consideration for Twitter granting you access to and use of the Services, you
              agree that Twitter and its third-party providers and partners may place advertising
              on the Services or in connection with the display of Content or information from
              the Services whether submitted by you or others. You also agree not to misuse our
              Services, for example, by interfering with them or accessing them using a method
              other than the interface and the instructions that we provide. You may not do any
              of the following while accessing or using the Services: (i) access, tamper with, or
              use non-public areas of the Services, Twitter's computer systems, or the technical
              delivery systems of Twitter's providers; (ii) probe, scan, or test the vulnerability of
              any system or network or breach or circumvent any security or authentication
              measures: (iii) access or search or attempt to access or search the Services by any

                                                                       EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 30 of 130
              means (automated or otherwise) other than through our currently available,
              published interfaces that are provided by Twitter (and only pursuant to the
              applicable terms and conditions), unless you have been specifically allowed to do
              so in a separate agreement with Twitter(NOTE: crawling the Services is permissible
              if done in accordance with the provisions of the robots.txt file, however, scraping
              the Services without the prior consent of Twitter is expressly prohibited): (iv) forge
              any TCP/IP packet header or any part of the header information in any email or
              posting, or in any way use the Services to send altered, deceptive or false source-
              identifying information; or (v) interfere with, or disrupt,(or attempt to do so), the
              access of any user, host or network, including, without limitation, sending a virus,
              overloading, flooding, spamming, mail-bombing the Services, or by scripting the
              creation of Content in such a manner as to interfere with or create an undue burden
              on the Services. We also reserve the right to access, read, preserve, and disclose
              any information as we reasonably believe is necessary to (i) satisfy any applicable
              law, regulation, legal process or governmental request, (ii) enforce the Terms,
              including investigation of potential violations hereof, (iii) detect, prevent, or
              otherwise address fraud, security or technical issues, (iv) respond to user support
              requests, or (v) protect the rights, property or safety of Twitter, its users and the
              public. Twitter does not disclose personally-identifying information to third parties
              except in accordance with our Privacy Pgljcy.


              If you use developer features of the Services, including but not limited to Tvyittej igi;
              Websites (hrtps://dev.ivvi'ter.coin/vveb/overvievv), IVbtter Cards (httpsy/Xieytwit^r.
              conv'carcis/ovei'view), Public API (htiDs://dev.twitier.com/streaminq/''public). or Sign
              if. Vvith Kvliter (h\ips;//ciev.Iwitter.convvyeb/sign:in), you agree to our peyelgper
              Agreefiieni (ibtp5://ciev.byitter.corTi Wveivi9v//[ei;ms/agr-eenTent) and Developer,
              Poiicy (https://dev.Lvvitter.cofn/overvievv/Lernis/ppiicy). If you want to reproduce,
              modify, create derivative works, distribute, sell, transfer, publicly display, publicly
              perform, transmit, or otherwise use the Services or Content on the Services, you
              must use the interfaces and instructions we provide, except as permitted through
              the Twitter Services, these Terms, or the terms provided on deytwitter,com. If you
              are a security researcher, you are required to comply with the rules of the Twitter
              Vuii lorabiiity Reporting .Program (hltp$://!iack6rone.cgm/twiU8r). The requirements
              set out in the preceding paragraph may not apply to those participating in Twitter's
              Vulnerability Reporting Program.


              If you use advertising features of the Services, you must agree to our Twitter Master
              Services Agteoment (hltpsWads.lVvitierconi/terms).


              If you use Super Hearts, Coins, or Stars on Periscope, you agree to our Super
              HeaiIS Temis (nttps: Clegal.twitter.coiTr     periscopeWupeCterTii^^^




                                                                        EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 31 of 130

              Your Account

              You may need to create an account to use some of our Services. You are responsible
              for safeguarding your account, so use a strong password and limit its use to this
              account. We cannot and will not be liable for any loss or damage arising from your
              failure to comply with the above.

              You can control most communications from the Services. We may need to
              provide you with certain communications, such as service announcements and
              administrative messages. These communications are considered part of the
              Services and your account, and you may not be able to opt-out from receiving
              them. If you added your phone number to your account and you later change or
              deactivate that phone number, you must update your account information to help
              prevent us from communicating with anyone who acquires your old number.


              Your License to Use the Services

              Twitter gives you a personal, worldwide, royalty-free, non-assignable and non
              exclusive license to use the software provided to you as part of the Services.
              This license has the sole purpose of enabling you to use and enjoy the benefit
              of the Services as provided by Twitter, in the manner permitted by these Terms.


              The Services are protected by copyright, trademark, and other laws of both the
              United States and other countries. Nothing in the Terms gives you a right to use
              the Twitter name or any of the Twitter trademarks, logos, domain names, other
              distinctive brand features, and other proprietary rights. All right, title, and interest
              in and to the Services (excluding Content provided by users) are and will remain
              the exclusive property of Twitter and its licensors. Any feedback, comments, or
              suggestions you may provide regarding Twitter, or the Services is entirely voluntary
              and we will be free to use such feedback, comments or suggestions as we see fit
              and without any obligation to you.




              Ending These Terms

              You may end your legal agreement with Twitter at any time by deactivating your
              accounts and discontinuing your use of the Services. See lUrs. i ; !p.lv, irt ;lc
                                                            'v.            (and for Periscope,
              i p. :     p:                    c : ::   : : i, s   T;   0)for instructions on how to
              deactivate your account and the Privacy Policy for more information on what
              happens to your information.




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 32 of 130      '.;j^,,.,;■>,' a:: 1^;,:. :;^|   ■ i:: ■




              We may suspend or terminate your account or cease providing you with all or part
              of the Services at any time for any or no reason, including, but not limited to, if we
              reasonably believe: (i) you have violated these "Terms or the r . a                                R ! .?: iv a
                    ; or            ; 0            (:      .   , (ii) you create risk or possible legal
              exposure for us; (iii) your account should be removed due to unlawful conduct,
              (iv) your account should be removed due to prolonged inactivity; or (v) our provision
              of the Services to you is no longer commercially viable. We will make reasonable
              efforts to notify you by the email address associated with your account or the next
              time you attempt to access your account, depending on the circumstances. In all
              such cases, the Terms shall terminate, including, without limitation, your license to
              use the Services, except that the following sections shall continue to apply: II, III, V,
              and VI. If you believe your account was terminated in error you can file an appeal
              following the steps found in our : i : r :                              n t. RU;r.c or;^ *.) i
                           ;                     For the avoidance of doubt, these Terms survive
              the deactivation or termination of your account.



              5 Limitation of Liabiiity
              By using the Services you agree that Twitter, its parents, affiliates, related
              companies, officers, directors, employees, agents representatives, partners and
              licensors, liability is limited to the maximum extent permissible in your country of
              residence.




              6 Generai
              We may revise these Terms from time to time. The changes will not be retroactive,
              and the most current version of the Terms, which will always be at I, it^                                     n R)3,
              will govern our relationship with you. Other than for changes addressing new
              functions or made for legal reasons, we will notify you 30 days in advance of
              making effective changes to these Terms that impact the rights or obligations of
              any party to these Terms, for example via a service notification or an email to the
              email associated with your account. By continuing to access or use the Services
              after those revisions become effective, you agree to be bound by the revised Terms.




                                                                               EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 33 of 130
              In the event that any provision of these Terms is held to be invalid or unenforceable,
              then that provision will be limited or eliminated to the minimum extent necessary,
              and the remaining provisions of these Terms will remain in full force and effect.
              Twitter's failure to enforce any right or provision of these Terms will not be deemed
              a waiver of such right or provision.


              These Terms are an agreement between you and Twitter International Company,
              an Irish company with its registered office at One Cumberland Place, Fenian Street
              Dublin 2, D02 AX07 Ireland. If you have any questions about these Terms, please
              contact -js.




              Effective; January 1=^' 2020




                                                                     EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 34 of 130




             Twitter Privacy Policy

             We believe you should always know what
             data we collect from you and how we use it,
             and that you should have meaningful control
             over both. We want to empower you to make
             the best decisions about the information that
              you share with us.


              That's the basic purpose of this
              Privacy Policy.




                                                     EXHIBIT D-1
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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 35 of 130




              You should read this policy in full, but
              here are a few key things we hope you
              take away from


                 Twitter Is public and Tweets are immediately viewable and searchable by
                 anyone around the world. We give you non-public ways to communicate on
                 Twitter too, through protected Tweets and Direct Messages. You can also use
                 Twitter under a pseudonym if you prefer not to use your name.


                  When you use Twitter, even if you're just looking at Tweets, we receive some
                  personal information from you like the type of device you're using and your
                 IP address. You can choose to share additional information with us like your
                 email address, phone number, address book contacts, and a public profile.
                 We use this information for things like keeping your account secure and
                 showing you more relevant Tweets, people to follow, events, and ads.


                  We give you control through your settings to limit the data we collect from
                  you and how we use it, and to control things like account security, marketing
                  preferences, apps that can access your account, and address book contacts
                  you've uploaded to Twitter. You can also download information you have
                 shared on Twitter.



                  In addition to information you share with us, we use your Tweets, content
                  you've read. Liked, or Retweeted, and other information to determine what
                  topics you're interested in, your age, the languages you speak, and other
                  signals to show you more relevant content. We give you transparency into
                  that information, and you can modify or correct it at any time.


                  If you have questions about this policy, how we collect or process your
                  personal data, or anything else related to our privacy practices, we want
                  to hear from you. You can contact us at any time.




                                                                   EXHIBIT D-1
     Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 36 of 130



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                   1 Information You Share
                            With Us

                   We require certain information to provide
                   our services to you. For example, you must
                   have an account in order to upload or share
                   content on Twitter. When you choose to
                   share the information below with us, we
                   collect and use it to operate our services.



                   1.1 Basic Account Information
                   You don't have to create an account to use some of our service features, such
                   as searching and viewing public Twitter profiles or watching a broadcast on
                   Periscope's website. If you do choose to create an account, you must provide us
                   with some personal data so that we can provide our services to you. On Twitter
                   this includes a display name (for example, "Tv^itter Moments"), a username
                   (for example.(c^TwitterMoments). a password, and an email address or phone
                   number. Your display name and username are alv^ays public, but you can use either
                   your real name or a pseudonym. You can also create and manage multiple Twitter
                   accounts\ for example to express different parts of your identity.




                   'The many sides of you. l.et your lOeotih/ run free. f.xp:oro your interests with a number of different
                     irfentitie.s.


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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 37 of 130

              1.2 Public Information
              Most activity on Twitter is public, including your profile information^, your time
              zone and languaQe, when you created your account, and your Tweets and certain
              information about your Tweets like the date, time, and application and version of
              Twitter you Tweeted from. You also may choose to publish your location in your
              Tweets or your Twitter profile. The lists you.create, people you follow and who
              follow you, and Tweets you Like or Retweet are also public. If you like, Retweet,
              reply, or otherwise publicly engage with an ad on our services, that advertiser
              might thereby learn information about you associated with the ad with which you
              engaged such as characteristics of the audience the ad was intended to reach.
              Periscope broadcasts you create, click on, or otherwise engage with, either on
              Periscope or on Twitter, are public along with when you took those actions. So are
              your hearts, comments, the number of hearts you've received, which accounts
              you are a Superfan of, and whether you watched a broadcast live or on replay.
              Any hearts, comments, or other content you contribute to another account's
              broadcast v/iil remain part of that broadcast for as long as it remains on Periscope.
              Information posted about you by other people who use our services may also be
              public. For example, other people may tag you in a photo^ (if your settings allow)
              or mention you in a Tweet.


              You are responsible for your Tweets and other information you provide through our
              services, and you should think carefully about what you make public, especially if it
              is sensitive information. If you update your public information on Twitter, such as by
              deleting a Tweet or deactivating your account, we will reflect your updated content
              on Twitter.com, Twitter for iOS, and Twitter for Android.


              By publicly posting content when you Tweet, you are directing us to disclose that
              information as broadly as possible, including through our APIs, and directing those
              accessing the information through our APIs to do the same. To facilitate the fast
              global dissemination of Tweets to people around the world, we use technology like
              application oroqramminq interfaces (APIs) and embeds to make that information
              available to websites, apps, and others for their use - for example, displaying
              Tweets on a news website or analyzing what people say on Twitter. We generally
              make this content available in limited quantities for free and charge licensing fees
              for large-scale access. We have standard terms that govern how this data can be
              used, and a compliance program to enforce these terms. But these individuals and
              companies are not affiliated with Twitter, and their offerings may not reflect updates
              you make on Twitter. For more information about how we make public data on
              Twitter available to the world, visit http.s://d9v'elop9r.twitter.com.




              " Hello, Worid! Your profile information is displayed under your photo and username on your profile page.
              ^ Keep a low profile. Friend want to tag you in a photo? Lucky you. If you-re not into that sort of thing, you
               can always change your settings.

                                                                                    EXHIBIT D-1
    Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 38 of 130


                  1.3 Contact Information and Address
m
                  Books
                  W© us© your contact information, such as your ©mail address or phone number,
                  to authenticate your account and keep it - and our services - secure, and to help
                  prevent spam, fraud, and abuse. W© also use contact information to enable certain
                  account features (for example, for incisi          or T .      i::; Sr.-3), and to send
                  you information about our services, and to personalize our services, including ads.
                  If you provide us with your phone number, you agree to receive text messages from
                  Twitter to that number as your country's laws allow. Twitter also uses your contact
                  information to market to you as your country's laws allow, and to help others find
                  your account if your settings permit, including through third-party services and
                  client applications. You can use your settings for eniwii: and rricr^ile notification?
                  to control notifications you receive from Tv/itter. You can also unsubscribe from a
                  notification by following the instructions contained within the notification or rore.


                  You can choose to upload and sync your address book on Twitter so that w© can help
                  you find and connect with people you know and help others find and connect with
                  you. We also us© this information to better recommend content to you and others.


                  You can sign up for Periscope with an account from another service like Twitter,
                  Google, or Facebook, or connect your Periscope account to these other services.
                  If you do, we will use information from that service, including your email address,
                  friends, or contacts list, to recommend other accounts or content to you or to
                  recommend your account or content to others. You can control whether your
                  Periscope account is discoverable by email through your P?< i-coo? sett ng-


                  If you ©mail us, we will keep the content of your message, your email address, and
                  your contact information to respond to your request.



                  1.4 Direct Messages and Non-Public
                  Communications
                  We provide certain features that let you communicate more privately or control who
                  sees your content. For example, you can use Di? r-ci M                         to have non-public
                  conversations on Twitter, rrqter: ygur T.-.-eis, or host private crnapir asTs on
                  Periscope. When you communicate with others by sending or receiving Direct
                  Messages, we will store and process your communications and information
                  related to them. This includes link scanning for malicious content, link shortening
                  to           URLs, detection of spam3 abuse and prohibited images, and use of
                  reported issues. We also use information about whom you have communicated
                  with and when (but not the content of those communications)to better understand
                  the use of our services, to protect the safety and integrity of our platform, and to




                   Spam stinks. We scan your Direct Messages to try and prevefit sfxjrn for you and our service.

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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 39 of 130
              shov/ more relevant content. We share the content of your Direct Messages with
              the people you've sent them to; we do not use them to serve you ads. Note that
              if you interact in a way that would ordinarily be public with Twitter content shared
              with you via Direct Message,for instance by liking a Tweet, those interactions will
              be public. When you use features like Direct Messages to communicate, remember
              that recipients have their ov/n copy'' of your communications on Twitter - even if you
              delete your copy of those messages from your account - which they may duplicate,
              store, or re-share.




              1.5 Payment Information
              You may provide us with payment information®, including your credit or debit card
              number, card expiration date, CW code, and billing address, in order to purchase
              advertising or other offerings provided as part of our services.




             1.6 How You Control the Information
             You Share with Us
              Your F: ivac> crn -         , seitirr;- let you decide;

                   Whether your Tweets are publicly available on Twitter

                   Whether others can tag you in a photo

                   Whether you will be able to receive Direct Messages from anyone on Twitter
                   or just your followers

                   Whether others can find you based on your email or phone number

                   Whether you upload your address book to Twitter for storage and use

                   When and where you may see sensitive content on Twitter

                   Whether you want to r; - - or "                other Twitter accounts




               Just like email. Oniy send Direct Messages to people )'0u        r^emetncer, even tfiougn sc-mecne can t
               i-ietweet your Direct Messages, Iney stiii nave a copy of your message.
               Approved by you. We use your p;j>yment information to process: transactions you've approved and for fraud
               detection.


                                                                                   EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 40 of 130




             2 Additional Information
                   We Receive About You


              We receive certain information when
              you use our services or other websites
              or mobile applications that include our
              content, and from third parties including
              advertisers. Like the information you share
              with us, we use the data below to operate
              our services.


              2.1 Location Information
              We require information about your signup and current location, which we get from
              signals such as your IP address or device settings, to securely and reliably set up
              and maintain your account and to provide our services to you.


              Subject to your settings, we may collect, use, and store additional information
              about your location - such as your current precise position or places where you've
              previously used Twitter - to operate or personalize our services including with more
              relevant content like local trends, stories, ads, and suggestions for people to follow.
              Learn more about Twitter's use of location i      and how to set your Twitter location
              preferences ucf-.. Learn more about how to share your location in Periscope
              broadcasts i e!-.




                                                                     EXHIBIT D-1
       Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 41 of 130

                     2.2 Links
^i.y                 In order to operate our services, we keep track of how you interact with links across
                     our ser\'ices. This includes links in emails we send you and links in Tweets that
                     appear on other websites or mobile applications.


                     If you click on an external link or ad on our services, that advertiser or website
                     operator might figure out that you came from Twitter or Periscope, along with
                     other information associated with the ad you clicked such as characteristics of the
                     audience it was intended to reach. They may also collect other personal data from
                     you, such as cookie identifiers or your IP address.



                     2.3 Cookies
                     A cookie is a small piece of data that is stored on your computer or mobile device.
                     Like many websites, we use cookies and similar technologies to collect additional
                     website usage data and to operate our services. Cookies are not required for many
                     parts of our services such as searching and looking at public profiles. Although
                     most web browsers automatically accept cookies, many browsers' settings can be
                     set to decline cookies or alert you when a website is attempting to place a cookie
                     on your computerL However, some of our services may not function properly if
                     you disable cookies. When your browser or device allows it, we use both session
                     cookies and persistent cookies to better understand how you interact with our
                     services, to monitor aggregate usage patterns, and to personalize and otherwise
                     operate our services such as by providing account security, personalizing the
                     content we show you including ads, and remembering your language preferences.
                     We do not support the Do Not Track browser option. You can learn more about how
                     we u.se cookies and similar technologies n-



                     2.4 Log Data
                     We receive information when you view content on or otherv^ise interact with our
                     services, which we refer to as "Log Data," even if you have not created an account.
                     For example, when you visit our websites, sign into our services, interact with our
                     email notifications, use your account to authenticate to a third-party service, or
                     visit a third-party service that includes Twitter content, we may receive information
                     about you. This Log Data includes information such as your IP address, browser
                     type, operating system, the referring web page, pages visited, location, your
                     mobile carrier, device information (including device and application IDs), search
                     terms (including those not submitted as queries), and cookie information. We also
                     receive Log Data when you click on, view, or interact v/ith links on our services,
                     including when you install another application through Twitter. We use Log Data to
                     operate our services and ensure their secure, reliable, and robust performance. For
                     example, we use Log Data to protect the security of accounts and to determine
                     what content is popular on our services. We also use this data to improve the
                     content we show you, including ads and to improve the effectiveness of our
                     own marketing.




                      Not hungry? You can change your cookie settings in your •.veb Orovjser

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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 42 of 130
              W9 us© information you provide to us and data we receive, including Log Data and
              data from third parties, to make inferences like what topics you may be interested
              in, how old you are, and what languages you speak. This helps us better promote
              and design our services for you and personalize the content we show you,
              including ads.



              2.5 Twitter for Web Data
              When you view our content on third-party websites that integrate Twitter content
              such as embedded timelines or Tweet buttons, we may receive Log Data that
              includes the web page you visited. We use this information to better understand
              the use of our services, to protect the safety and integrity of our platform, and to
              show more relevant content, including ads. We do not associate this web browsing
              history' with your name, email address, phone number, or username, and we delete,
              obfuscate, or aggregate it after no longer than 30 days. We do not collect this data
              from browsers that we believe to be located in the European Union or ERA States.



              2.6 Advertisers and Other Ad Partners
              Advertising revenue allows us to support and improve our services. We us© the
              information described in this Privacy Policy to help make our advertising more
              relevant to you, to measure its effectiveness, and to help recognize your devices to
              serve you ads on and off of Twitter. Our ad partners and affiliates share information
              with us such as browser cookie IDs, mobile device IDs, hashed email addresses,
              demographic or interest data, and content viewed or actions taken on a website or
              app. Some of our ad partners, particularly our advertisers, also enable us to collect
              similar information directly from their website or app by integrating our advertising
              technology. Information shared by ad partners and affiliates or collected by Twitter
              from the websites and apps of ad partners and affiliates may be combined with
              the other information you share with Twitter and that Twitter receives about you
              described elsewhere in our Privacy Policy.


              Twitter adheres to the Digital Advertising Alliance Self-Regulatory Principles for
              Online Behavioral Advertising (also referred to as "interest-based advertising")
              and respects the DAA's consumer choice tool for you to opt out of interest-based
              advertising at                                In addition, our ads policies prohibit
              adveaisers from targeting ads based on          q      that we consider sensitive or
              are prohibited by law, such as race, religion, politics, sex life, or health. Learn more
              about your privacy options for interest-based ads ■ ;      and about hov«' ads work on
              our services



              If you are an advertiser or a prospective advertiser, we process your personal data
              to help offer and provide our advertising services. You can update your data in
              your Twitter Ads dashboard or by contacting us directly as described in this
              Privacy Policy.




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 43 of 130

              2.7 Developers
              ' ■ /' ■       r ^ if AFi'; ■"•; OG,-. A'^er ; r^A:-!. v;G procGss your personal data to
              help provide our services. You can update your data by contacting us directly
              as described in this Privacy Policy.


              2.8 Other Third Parties and Affiliates
              We may receive information about you from third parties who are not our ad
              partners, such as others on Twitter, partners who help us evaluate the safety •
              and quality of content on our platform, our           aftisates, and other
              services you link to your Twitter account.


              You may choose to connect your Twitter account to accounts on another service,
              and that other service may send us information about your account on that service.
              We use the information we receive to provide you features like cross-posting or
              cross-service authentication, and to operate our services. For integrations that
              Twitter formally supports, you may revoke this permission at any time from your
              application settings; for other integrations, plea.se visit the other service you have
              connected to Tvyitter.




              2.9 Personalizing Based On Your
              Inferred Identity
              When you log into Twitter on a browser or device, we will associate that brov/ser
              or device with your account for purposes such as authentication, security, and
              personalization. Subject to your settings, we may also associate your account
              with browsers or devices other than those you use to log into Twitter (or associate
              your logged-out device or browser with other browsers or devices). When you
              provide other information to Twitter, including an email address, we associate that
              information with your Twitter account. Subject to your settings, we may also use
              this information in order to infer other information about your identity, for example
              by associating your account with hashes of email addresses that share common
              components with the email address you have provided to Twitter. We do this to
              operate and personalize our services. For example, if you visit websites with sports
              content on your laptop, we may show you sports-related ads on Twitter for Android
              and, if the email address associated with your account shares components with
              another email address, such as shared first name, last name, or initials, v/e may
              later match advertisements to you from advertisers that were trying to reach email
              addresses containing those components.




                                                                           EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 44 of 130

             2.10 How You Control Additional
             Information We Receive
             Your Twitter                                   let you decide:




                  How we personalize o : :j ;               : i : -r:u ,

                  Whether we collect and use your ,

                  Whether we personalize your experience based on where you've been




              You can use          •-


                  Advertisers who have included you in tailored audiences to serve you ads
                  Demographic and interest data about your account from our ads partners
              °   Information that Twitter has inferred about you such as your age range, gender,
                  languages, and interests

              We also provide a version of these tools on Twitter if you don't have a Twitter
              account, or if you're logged out of your account. This lets you see the data and
              settings for the logged out browser or device you are using, separate from any
              Twitter account that uses that browser or device. On Periscope, you can control
              whether we personalize your experience based on your watch history through
              your :



              Please see     - for more details of how we collect and use your data.




                                                                      EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 45 of 130




             3 Information We Share
                   and Disclose

              As noted above, Twitter is designed
              to broadly and instantly disseminate
              information you share publicly through
              our services. In the limited circumstances
              where we disclose your private personal
              data, we do so subject to your control,
              because it's necessary to operate our
              services, or because it's required by law.


              3.1 Sharing You Control
              We share or disclose your personal data with your consent or at your direction,
              such as when you d . n r .;e d m ,   i r^   . olt, d      did i .ad m : to access your
              account or when you direct us to share your feedback with a business. If you've
              shared information like Direct Messages or protected Tweets with someone
              else who accesses Twitter through a third-party service, keep in mind that the
              information may be shared with the third-party service.

              Subject to your settings, we also provide certain third parties with personal data
              to help us offer or operate our services. For example, we share with advertisers
              the identifiers of devices that saw their ads, to enable them to measure the
              effectiveness of our advertising business. You can learn more about these
              partnerships in our ; : ; ; C d -. ^ and you can control whether Twitter shares your
              personal data in this way by using the "Share your data with Twitter's business
              partners" option in your Per-i d d : a; ,i n u i d:          .(This setting does not
              control sharing described elsewhere in our Privacy Policy, such as when we share
              data with our service providers.) The information we share with these partners does
              not include your name, email address, phone number, or Twitter username, but
              some of these partnerships allow the information we share to be linked to other
              personal information if the partner gets your consent first.

                                                                     EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 46 of 130

              3.2 Service Providers
              We engage ^         ^      ^ to perform functions and provide services to us in
              the United States, Ireland, and other countries. For example, we use a variety of
              third-party services to help operate our services, such as hosting our various blogs
              and wikis, and to help us understand the use of our services, such as Google
              Analytics. We may share your private personal data with such service providers
              subject to obligations consistent with this Privacy Policy and any other appropriate
             confidentiality and security measures, and on the condition that the third parties
             use your private personal data only on our behalf and pursuant to our instructions
             (service providers may use other non-personal data for their own benefit). We share
             your payment information with payment services providers to process payments;
              prevent, detect, and investigate fraud or other prohibited activities; facilitate dispute
              resolution such as chargebacks or refunds; and for other purposes associated with
              the acceptance of credit and debit cards.



             3.3 Law, Harm,and the Public Interest
              Notwithstanding anything to the contrary in this Privacy Policy or controls we
              may otherwise offer to you, we may preserve, use, or disclose your personal data
              or other safety data if we believe that it is reasonably necessary to comply with
              a law, regulation, k j i r                   ;;     ; ri ,     ro j i s; to protect the safety
              of any person; to protect the safety or integrity of our platform, including to help
              prevent spam, abuse, or malicious actors on our services, or to explain why we
              have removed content or accounts from our services®; to address fraud, security,
              or technical issues; or to protect our rights or property or the rights or property of
              those who use our services. However, nothing in this Privacy Policy is intended to
              limit any legal defenses or objections that you may have to a third party's, including
              a government's, request to disclose your personal data.



              3.4 Affiliates and Change of Ownership
              In the event that we are involved in a bankruptcy, merger, acquisition, reorganization,
              or sale of assets, your personal data may be sold or transferred as part of that
              transaction. This Privacy Policy will apply to your personal data as transferred to the
              new entity. We may also disclose personal data about you to our cc i u: ■                     an u
              in order to help operate our services and our affiliates' services, including the delivery
              of ads.




              3.5 Non-Personal Information
              We share or disclose non-personal data, such as aggregated information like the
              total number of times people engaged with a Tweet, demographics, the number
              of people who clicked on a particular link or voted on a poll in a Tweet(even if only
              one did), the topics that people are Tweeting about in a particular location, some
              inferred interests, or reports to advertisers about how many people saw or clicked
              on their ads.




               Transparency matters. We remove content from our services when it violates our rules, like if it glorifies
               violence. When that content IS gone, we want you to know.           ^N/LJimn' r\ A
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                                  Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 47 of 130




                                               4 Managing Your Personal
                                                    information With Us

                                                You control the personal data you share
                                                with us. You can access or rectify this
                                                data at any time. You can also deactivate
                                                your account. We also provide you tools
                                                to object, restrict, or withdraw consent
                                                where applicable for the use of data you
                                                have provided to Twitter. And we make
                                                the data you shared through our services
                                                portable and provide easy ways for you to
                                                contact us. Please note, to help protect
                                                your privacy and maintain security, we take
                                                steps to verify your identity before granting
                                                you access to your personal information
                                                or complying with deletion, portability,
                                                or other related requests.




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EZZ"   Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 48 of 130

                    4.1 Accessing or Rectifying Your
                     Personal Data
                     If you have registered an account on Twitter, we provide you with tools and               ^ v i^
                             to access, correct, delete, or modify the personal data you provided to us
                     and associated with your account. You can download certain account Information,
                     Including your Tweets, by following the Instructions        .On Periscope, you can
                     request correction, deletion, or modification of your personal data, and download
                     your account Information, by following the Instructions .            . You can learn more
                     about the Interests we have Inferred about you In           . . 'j       i . ; ■ and request
                     access to additional Information :      . To submit a request related to access,
                     modification or deletion of your Information, you may also contact us as specified
                     In the How To Contact Us section of our Privacy Policy(              :      ■.




                     4.2 Deletion
                     We keep Log Data for a maximum of 18 months. If you follow the Instructions                    - }
                     (or for Periscope      ), your account will be deactivated. When deactivated, your
                     Twitter account, Including your display name, username, and public profile, will no
                     longer be viewable on Twltter.com, Twitter for ICS, and Twitter for Android. For up to
                     30 days after deactlvatlon It Is still possible to restore your Twitter account If It was
                     accidentally or wrongfully deactivated.


                     Keep In rnlnd that search engines and other third parties may still retain copies of
                     your public Information, like your profile Information and public Tweets, even after
                     you have deleted the Information from our services or deactivated your account.
                     Learn more




                     4.3 Object, Restrict, or Withdraw
                     Consent
                     When you are logged Into your Twitter account, you can manage your privacy
                     settings and other account features •       at any time. It may take a short amount
                     of time for privacy settings to be fully reflected throughout our systems.




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 49 of 130

             4.4 Portability
              Twitter provides you a means to download the information you have shared through
              our services by following the steps         . Periscope provides you a means to
              download the information you have shared through our services by following the
              steps



             4.5 Additional Information
              or Assistance
              Thoughts or questions about this Privacy Policy? Please let us know by contacting
              us      or writing to us at the appropriate address below.


              If you live in the United States or any other country outside of the European Union
              or the European Economic Area, the data controller responsible for your personal
              data is Twitter, Inc. with an address of:


              Twitter, Inc.
              Attn: Privacy Policy Inquiry
              1355 Market Street, Suite 900
              San Francisco, CA 94103


              If you live in the European Union or European Economic Area, the data controller is
              Twitter International Company, with an address of:


              Twitter International Company
              Attn: Data Protection Officer
              One Cumberland Place, Fenian Street
              Dublin 2, D02 AX07 IRELAND


              You can confidentially contact Twitter's Data Protection Officer ; : . If you wish
              to raise a concern about                                (and without prejudice to any
              other rights you may have), you have the right to do so with your local supervisory
              authority or Twitter International Company's lead supervisory authority, the Irish
              Data Protection Commission. You can find their contact details




                                                                       EXHIBIT D-1
Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 50 of 130




             5 Children and
               Our Services
              Our services are not directed to children, and you may not use our services if you
              are under the age of 13. You must also be old enough to consent to the processing
              of your personal data in your country (in some countries we may allow your parent
              or guardian to do so on your behalf). You must be at least 16 years of age to use
              Periscope.




             6 Our Global Operations
               and Privacy Shield

              To bring you our services, we operate globally. Where the laws of your country allow
              you to do so, you authorize us to transfer, store, and use.your data in the United
              States, Ireland, and any other country where we operate. In some of the countries
              to which we transfer personal data, the privacy and data protection laws and rules
              regarding when government authorities may access data may vary from those of
              your country. Learn more about our global operations and data transfer : .


              When we transfer personal data outside of the European Union or EFTA States, we
              ensure an adequate level of protection for the rights of data subjects based on the
              adequacy of the receiving country's data protection laws, contractual obligations
              placed on the recipient of the data (model clauses may be requested by inquiry as
              described below), or EU-US and Swiss-US Privacy Shield principles.


              Twitter, Inc. complies with the EU-US and Swiss-US Privacy Shield principles
              (the "Principles") regarding the collection, use, sharing, and retention of personal
              data from the European Union and Switzerland, as described in our EU -l L-'




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 51 of 130
              If you have a Privacy Shield-related complaint, please contact us                            As part
              of our participation in Privacy Shield, if you have a dispute with us about our
              adherence to the Principles, we will seek to resolve it through our internal complaint
              resolution process, alternatively through the independent dispute resolution body
                  \ , and under certain conditions, through the ; :                                ;.       .    i      - r.


              Privacy Shield participants are subject to the investigatory and enforcement powers
              of the US Federal Trade Commission and other authorized statutory bodies. Under
              certain circumstances, participants may be liable for the transfer of personal data
              from the EU or Switzerland to third parties outside the EU and Switzerland. Learn
              more about the EU-US Privacy Shield and Swiss-US Privacy Shield ; -                            .




             7 Changes to This
               Privacy Poiicy
              We may revise this Privacy Policy from time to time. The most current version of
              the policy will govern our processing of your personal data and will always be at
                                             : . If we make a change to this policy that, in our sole
              discretion, is material, we will notify you via an : ' update or email to the
              email address associated with your account. By continuing to access or use the
              Services after those changes become effective, you agree- to be bound by the
              revised Privacy Policy.


              Effective: January 1, 2020




                You're in control. Even as Twitter e>.nives, you can at.vays f.-hange your privacy settings. The power is
                yours to choose wlmt you share m the world.

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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 52 of 130




              The Twitter Rules

             Twitter's purpose is to serve the public
             conversation. Violence, harassment
             and other similar types of behavior
             discourage people from expressing
             themselves, and ultimately diminish
             the value of global public conversation.
             Our rules are to ensure all people can
             participate in the public conversation
             freely and safely.


              Safety

              Violence: You may not threaten violence against an individual or a group of people.
              We also prohibit the glorification of violence. Learn more about our . . / : r
              and i : . !      '   l i   r policies.



              Terrorism/violent extremism: You may not threaten or promote terrorism or violent
              extremism. •




              Child sexual exploitation: We have zero tolerance for child sexual exploitation on
              Twitter Lv     : .




              Abuse/harassment: You may not engage in the targeted harassment of someone,
              or incite other people to do so. This includes wishing or hoping that someone
              experiences physical harm, i -




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 53 of 130
              Hateful conduct: You may not promote violence against, threaten, or harass other
              people on the basis of race, ethnicity, national origin, sexual orientation, gender,
              gender identity, religious affiliation, age, disability, or serious disease, l-vr ; jri.


              Suicide or self-harm: You may not promote or encourage suicide or self-harm.




              Sensitive media, including graphic violence and adult content: You may not post
              media that is excessively gory or share violent or adult content within live video or
              in profile or header images. Media depicting sexual violence and/or assault is also
              not permitted, l: ^      r:



              Illegal or certain regulated goods or services: You may not use our service for any
              unlawful purpose or in furtherance of illegal activities. This includes selling, buying,
              or facilitating transactions in illegal goods or services, as well as certain types of
              regulated goods or services. ; ■ ^      ^ .




              Privacy

              Private information: You may not publish or post other people's private information
             (such as home phone number and address) without their express authorization and
              permission. We also prohibit threatening to expose private information or
              incentivizing others to do so. .



              Non-consensual nudity: You may not post or share intimate photos or videos of
              someone that were produced or distributed without their consent. i          = : 1 : 0-.




              Authenticity

              Platform manipulation and spam: You may not use Twitter's services in a manner
              intended to artificially amplify or suppress information or engage in behavior that
              manipulates or disrupts people's experience on Twitter. L - .; :   1 ;■



              Election integrity: You may not use Twitter's services for the purpose of
              manipulating or interfering in elections. This includes posting or sharing content
              that may suppress voter turnout or mislead people about when, where, or how
              to vote. L ; ;   ::: .




              Impersonation: You may not impersonate individuals, groups, or organizations in
              a manner that is intended to or does mislead, confuse, or deceive others. L er;: -: ;

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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 54 of 130


              Copyright and trademark: You may not violate others' intellectual property rights,
              including copyright and trademark. Learn more about our     • i   ^ ; i ; vl, . and




              Enforcement and Appeals

              Learn more about our..                           including potential consequences
              for violating these rules or attempting to circumvent enforcement, as well as how to
              appeal.




              Third-party advertising in video content

              You may not submit, post, or display any video content on or through our services
              that includes third-party advertising, such as pre-roll video ads or sponsorship
              graphics, without our prior consent.



              Note; we may need to change these rules from time to time in order to support our
              goal of promoting a healthy public conversation. The most current version is always
              available at       .   ;:




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              Help Center




     Hateful conduct policy
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     policies/twitter-rules#hateful-conduct)
     (https://h0lp.twitter.comhttps://help.twitter.com/rules-and-policies/twitter-rules#hateful-
     conduct) You may not promote violence against or directly attack or threaten other people
     on the basis of race, ethnicity, national origin, sexual orientation, gender, gender identity,
     religious affiliation, age, disability, or serious disease. We also do not allow accounts
     whose primary purpose is inciting harm towards others on the basis of these categories.

     Hateful imagery and display names: You may not use hateful images or symbols in your
      profile image or profile header. You also may not use your username, display name, or
      profile bio to engage in abusive behavior, such as targeted harassment or expressing hate
     towards a person, group, or protected category.


     Rationale

     Twitter's mission is to give everyone the power to create and share ideas and information,
     and to express their opinions and beliefs without barriers. Free expression is a human right
     - we believe that everyone has a voice, and the right to use it. Our role is to serve the public
     conversation, which requires representation of a diverse range of perspectives.

     We recognise that if people experience abuse on Twitter, it can jeopardize their ability to
     express themselves. Research has shown that some groups of people are
     disproportionately targeted with abuse online. This includes; women, people of color,
     lesbian, gay, bisexual, transgender, queer, intersex, asexual individuals, marginalized and
     historically underrepresented communities. For those who identity with multiple
     underrepresented groups, abuse may be more common, more severe in nature and have a
      higher impact on those targeted.

     We are committed to combating abuse motivated by hatred, prejudice or intolerance,
      particularly abuse that seeks to silence the voices of those who have been historically
      marginalized. For this reason, we prohibit behavior that targets individuals with abuse
      based on protected category.



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      If you see something on Twitter that you believe violates our hateful conduct policy, please
     report it to us (https://help.twitter.comhttps://help.twitter.com/forms/abusiveuseh.


     When this applies
     We will review and take action against reports of accounts targeting an individual or group
     of people with any of the following behavior, whether within Tweets or Direct Messages.

     Violent threats

     We prohibit content that makes violent threats against an identifiable target. Violent threats
     are declarative statements of intent to inflict injuries that would result in serious and lasting
      bodily harm, where an individual could die or be significantly injured, e.g., "I will kill you".

      Note: we have a zero tolerance policy against violent threats. Those deemed to be sharing
     violent threats will face immediate and permanent suspension of their account.

     Wishing, hoping or calling for serious harm on a person or group of people
     We prohibit content that wishes, hopes, promotes, or expresses a desire for death, serious
     and lasting bodily harm, or serious disease against an entire protected category and/or
     individuals who may be members of that category. This includes, but is not limited to:

      • Hoping that someone dies as a result of a serious disease, e.g., "I hope you get
           cancer and die."


      • Wishing for someone to fall victim to a serious accident, e.g., "I wish that you would
        get run over by a car next time you run your mouth."

      • Saying that a group of individuals deserve serious physical injury, e.g., "If this group
        of protesters don't shut up, they deserve to be shot."


      References to mass murder, violent events, or specific means of violence where
      protected groups have been the primary targets or victims
      We prohibit targeting individuals with content that references forms of violence or violent
      events where a protected category was the primary target or victims, where the intent is to
      harass. This includes, but is not limited to sending someone:

      • media that depicts victims of the Holocaust;

      • media that depicts lynchings.


      Inciting fear about a protected category
      We prohibit targeting individuals with content intended to incite fear or spread fearful
      stereotypes about a protected category, including asserting that members of a protected

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     category are more likely to take part in dangerous or illegal activities, e g , "all [religious
     group] are terrorists"

     Repeated and/or non consensual slurs, epithets, racist and sexist tropes, or other
     content that degrades someone
     We prohibit targeting individuals with repeated slurs, tropes or other content that intends to
     dehumanize, degrade or reinforce negative or harmful stereotypes about a protected
     category This includes targeted misgendering or deadnaming of transgender individuals

     We also prohibit the dehumanization of a group of people based on their religion

     Hateful imagery
     We consider hateful imagery to be logos, symbols, or images whose purpose is to promote
     hostility and malice against others based on their race, religion, disability, sexual
     orientation, gender identity or ethnicity/national origin Some examples of hateful imagery
     include, but are not limited to

      • symbols historically associated with hate groups, e g , the Nazi swastika;

      • images depicting others as less than human, or altered to include hateful symbols,
           e g , altering images of individuals to include animalistic features; or

      • images altered to include hateful symbols or references to a mass murder that
        targeted a protected category, e.g., manipulating images of individuals to include
        yellow Star of David badges, in reference to the Holocaust.


     Media depicting hateful imagery is not permitted within live video, account bio, profile or
     header images. All other instances must be marked as sensitive media. Additionally,
     sending an individual unsolicited hateful imagery is a violation of our abusive behavior
     policy fhttps://help.twitter.comhttps://help.twitter.com/rules-and-policies/abusive-
     behaviorV



     Do I need to be the target of this content for it to be a
     violation of the Twitter Rules?

     Some Tweets may appear to be hateful when viewed in isolation, but may not be when
     viewed in the context of a larger conversation. For example, members of a protected
     category may refer to each other using terms that are typically considered as slurs. When
     used consensually, the intent behind these terms is not abusive, but a means to reclaim
     terms that were historically used to demean individuals.
      When we review this type of content, it may not be clear whether the intention is to abuse
      an individual on the basis of their protected status, or if it is part of a consensual
      conversation. To help our teams understand the context, we sometimes need to hear
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     directly from the person being targeted to ensure that we have the information needed prior
     to taking any enforcement action.

     Note: individuals do not need to be a member of a specific protected category for us to
     take action. We will never ask people to prove or disprove membership in any protected
     category and we will not investigate this information.


     Consequences
      Under this policy, we take action against behavior that targets individuals or an entire
      protected category with hateful conduct, as described above. Targeting can happen in a
     number of ways,for example, mentions, including a photo of an individual, referring to
     someone by their full name, etc.

     When determining the penalty for violating this policy, we consider a number of factors
     including, but not limited to the severity of the violation and an individual's previous record
     of rule violations. For example, we may ask someone to remove the violating content and
     serve a period of time in read-only mode before they can Tweet again. Subsequent
     violations will lead to longer read-only periods and may eventually result in permanent
     account suspension. If an account is engaging primarily in abusive behavior, or is deemed
     to have shared a violent threat, we will permanently suspend the account upon initial
      review.

     Learn more about our range of enforcement options
     (https://help.twitter.comhttps://help.twitter.com/rules-and-policies/enforcement-options).

     If someone believes their account was suspended in error, they can submit an appeal
     (https://help.twitter.comhttps://help.twitter.com/forms/aeneral?subtopic=suspended).




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              Help Center




     Abusive behavior

     Twitter Rules(https://help.twitter.comhttps://help.twitter.com/rules-and-policies/twitter-
     rules#hateful-conductV: You may not engage in the targeted harassment of someone,or
     incite other people to do so. We consider abusive behavior an attempt to harass, intimidate,
     or silence someone else's voice.



      Rationale

     On Twitter, you should feel safe expressing your unique point of view. We believe in
     freedom of expression and open dialogue, but that means little as an underlying philosophy
     if voices are silenced because people are afraid to speak up.

     In order to facilitate healthy dialogue on the platform, and empower individuals to express
     diverse opinions and beliefs, we prohibit behavior that harasses or intimidates, or is
     otherwise intended to shame or degrade others. In addition to posing risks to people's
     safety, abusive behavior may also lead to physical and emotional hardship for those
     affected.

      Learn more about our approach to policy development and our enforcement philosophy
     (https://help.twitter.comhttps://help.twitter.com/rules-and-policies/enforcement-
     philosophy).


     When this applies
     Some Tweets may seem to be abusive when viewed in isolation, but may not be when
      viewed in the context of a larger conversation. When we review this type of content, it may
      not be clear whether it is intended to harass an individual, or if it is part of a consensual
     conversation. To help our teams understand the context of a conversation, we may need to
     hear directly from the person being targeted, to ensure that we have the information
     needed prior to taking any enforcement action.

      We will review and take action against reports of accounts targeting an individual or group
      of people with any of the following behavior within Tweets or Direct Messages. For
      accounts engaging in abusive behavior on their profile, please refer to our abusive profile
      policy (https://help.twitter.comhttps://help.twitter.com/rules-and-pnllrift.^ahijaivft-DrQfjJe).
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                                                          Filed 05/04/20 Page 60 of 130
     For behavior targeting people based on their race, ethnicity, national origin, sexual
     orientation, gender, gender identity, religious affiliation, age, disability, or serious disease,
     this may be in violation of our hateful conduct policy
     (https://help.twitter.comhttps://help.twitter.com/rules-and-policies/hateful-conduct-policv).


     Wishing or hoping serious harm on a person or group of people

     We do not tolerate content that wishes, hopes or expresses a desire for death, serious
     bodily harm or fatal disease against an individual or group of people. This includes, but is
     not limited to:

      • Hoping that someone dies as a result of a serious disease e.g., "I hope you get
           cancer and die."


      • Wishing for someone to fall victim to a serious accident e.g., "I wish that you would
           get run over by a car next time you run your mouth."

      • Saying that a group of individuals deserves serious physical injury e.g., "If this group
        of protesters don't shut up, they deserve to be shot."


     Unwanted sexual advances

     While some consensual nudity and adult content is permitted
     (https://help.twitter.comhttps://help.twitter.com/rules-and-policies/media-policy) on Twitter,
     we prohibit unwanted sexual advances and content that sexually objectifies an individual
     without their consent. This includes, but is not limited to:

      • sending someone unsolicited and/or unwanted adult media, including images,
           videos, and GIFs;

      • unwanted sexual discussion of someone's body;

      • solicitation of sexual acts; and

      • any other content that otherwise sexualizes an individual without their consent.


      Using aggressive Insults with the purpose of harassing or Intimidating others
     We take action against excessively aggressive insults that target an individual, including
     content that contains slurs or similar language. Please also note that while some
     individuals may find certain terms to be offensive, we will not action against every instance
      where insulting terms are used.


      Encouraging or calling for others to harass an Individual or group of people
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      We prohibit behavior that encourages others to harass or target specific individuals or
      groups with abusive behavior This includes, but is not limited to; calls to target people with
      abuse or harassment online and behavior that urges offline action such as physical
      harassment



      Do I need to be the target of this content for it to be reviewed for violating the Twitter
      Rules?

      No, we review both first person and bystander reports of such content


      Consequences

      When determining the penalty for violating this policy, we consider a number of factors
      including, but not limited to, the severity of the violation and an individual's previous record
      of rule violations

      For example, we may ask someone to remove the violating content and serve a period of
     time in read only mode before they can Tweet again Subsequent violations will lead to
      longer read only periods and may eventually result in permanent suspension If an account
      is engaging primarily in abusive behavior, we may permanently suspend the account upon
      initial review

      Learn more about our range of enforcement options
     (https://help.twitter.comhttps://help.twitter.com/rules-and-policies/enforcement-optionsL




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                                                    Glorification violence05/04/20
                                                                          policy   Page 62 of 130




    9 Help Center



     Glorification of violence policy
     Overview

      March 2019

     You may not threaten violence against an individual or a group of people. We also
      prohibit the glorification of violence.

     Glorifying violent acts could inspire others to take part in similar acts of violence
     Additionally, glorifying violent events where people were targeted on the basis of their
      protected characteristics (including race, ethnicity, national origin, sexual orientation,
     gender, gender identity, religious affiliation, age, disability, or serious disease)could incite
     or lead to further violence motivated by hatred and intolerance For these reasons, we have
     a policy against content that glorifies acts of violence in a way that may inspire others to
     replicate those violent acts and cause real offline harm, or events where members of a
      protected group were the primary targets or victims


     What is In violation of this policy?

     Under this policy, you can't glorify, celebrate, praise or condone violent crimes, violent
     events where people were targeted because of their membership in a protected group, or
     the perpetrators of such acts We define glorification to include praising, celebrating, or
     condoning statements, such as "I'm glad this happened","This person is my hero", "I wish
      more people did things like this", or "I hope this inspires others to act"

      Violations of this policy include, but are not limited to, glorifying, praising, condoning, or
      celebrating

      • violent acts committed by civilians that resulted in death or serious physical injury,
           e g , murders, mass shootings;

      • attacks carried out by terrorist organizations or violent extremist groups(as defined
        by our terrorism and violent extremism policy
        (https://help.twitter.comhttps://help.twitter.com/rules-and-policies/violent-Qroups));
           and


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                                                                      policy   Page 63 of 130
      • violent events that targeted protected groups, e.g., the Holocaust, Rwandan
           genocide.



     What is not a violation of this policy?
     Our focus is on preventing the glorification of violence that could inspire others to replicate
     violent acts, as well as violent events where protected groups were the primary targets or
     victims. Exceptions may be made for violent acts by state actors, where violence was not
     primarily targeting protected groups.


     Who can report violations of this policy?
     Anyone can report potential violations of this policy, whether they have a Twitter account or
      not.



      How can I report violations of this policy?
     In-app

      You can report this content for review in-app as follows:

       1. Select Report Tweet from the                           icon.

       2. Select It's abusive or harmful.


       3. Select Threatening violence or physical harm.

       4. Select the relevant option depending on who you are reporting on behalf of.

       5. Select up to 5 Tweets to report for review.

       6. Submit your report.



      Desktop

      You can report this content for review via desktop as follows:
       1. Select Report Tweet from the ^ icon.

       2. Select It's abusive or harmful.


       3. Select Threatening violence or physical harm.

       4. Select the relevant option depending on who you are reporting on behalf of.

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       5 Select up to 5 Tweets to report for review

       6 Submit your report


      Report form

      You can also report this content for review via our abusive behavior reporting form
     (https://help.twitter.comhttps://help.twitter.com/forms/abusiveuserT by selecting the
      Harassment option.


      What happens if you violate this policy?
      The consequences for violating our glorification of violence policy depends on the severity
      of the violation and the account's previous history of violations.

      The first time you violate this policy, we will require you to remove this content. We will also
      temporarily lock you out of your account before you can Tweet again. If you continue to
      violate this policy after receiving a warning, your account will be permanently suspended. If
      you believe that your account was suspended in error, you can submit an appeal
     (https://help.twitter.comhttps://help.twitter.com/forms/general?subtopic=suspended).


      Additional resources

      Learn more about our range of enforcement options
     (https://help.twitter.comhttps://help.twitter.com/rules-and-policies/enforcement-options)
      and our approach to policy development and enforcement
     (https://help.twitter.comhttps://help.twitter.com/rules-and-policies/enforcement-
      philosophy).

      To learn about the link between glorifying violent acts and offline harm, you can refer to the
      research of Susan Benesch: Countering Dangerous Speech: New Ideas for Genocide
      Prevention (https://heip.twitter.comhttps://danaerousspeech.ora/countering-dangerous-
      speech-new-ideas-for-aenocide-prevention/) and the Dangerous Speech Project
     (https://help.twitter.comhttps://dangerousspeech.org/^.




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                                                            of enforcement options Page 65 of 130




              Help Center




     Our range of enforcement options
     When we take enforcement actions, we may do so either on a specific piece of content
     (e.g., an individual Tweet or Direct Message)or on an account. We may employ a
     combination of these options. In some instances, this is because the behavior violates the
     Twitter Rules (https://help.twitter.comhttps://help.twitter.com/rules-and-Policies/twitter-
     rules). Other times, it may be in response to a valid and properly scoped request from an
     authorized entity in a given country. Below are some of the enforcement actions that we
     may take.


     Tweet-level enforcement

     We take action at the Tweet level to ensure that we are not being overly harsh with an
     otherwise healthy account that made a mistake and violated our rules. A few of the ways in
     which we might take action at the Tweet level include:
     Limiting Tweet visibilitv: This makes content less visible on Twitter, in search results,
     replies, and on timelines. Limiting Tweet visibility depends on a number of signals about the
     nature of the interaction and the quality of the content.

      Reauirina Tweet removal: When we determine that a Tweet violated the Twitter Rules, we
     require the violator to remove it before they can Tweet again. We send an email notification
     to the violator identifying the Tweet(s) in violation and which policies have been violated.
     They will then need to go through the process of removing the violating Tweet or appealing
     our review if they believe we made an error.

      Hiding a violating Tweet while awaiting its removal: In the interim period between when
     Twitter takes enforcement action and the person removes the Tweet, we hide that Tweet
     from public view and will replace the original content with a notice stating that the Tweet is
     no longer available because it violated our Rules. Additionally, this notice will be available
     for 14 days after Tweet removed.

      Where this notice is available:

      • The details page of the Tweet in violation on Twitter for iOS and Android, and
           twitter.com.



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       • The profile page of the account in violation on Twitter for iOS and Android, and
           twitter.com.




      Where this notice is not available:

       • Areas outside of profiles and Tweet details pages, such as Home timeline,
           notifications, and search of any Twitter client.


      Notice of public interest exception: In rare cases, we may determine that it is in the public
      interest for a Tweet that would otherwise be in violation of our rules to remain accessible on
      our service. Learn more (https://help.twitter.comhttps://help.twitter.com/rules-and-
      policies/public-interest) about the public interest exception.
      When we make such an exception, we'll place the Tweet behind a notice explaining the
      exception and giving you the option to view the Tweet if you wish.

      When applying the notice, we'll also take the following actions to reduce the Tweet's
      visibility on our service:

      • We'll turn off engagements like replies, Retweets, and likes. If you want to talk about
           it, you can still Retweet with comment.

      • We won't show any engagement counts on the Tweet (e.g. number of likes, replies),
        but any prior engagements can be undone (e.g. unliked, Retweets undone).

      • Any previous replies will not be viewable within the Tweet details.


      Additionally, in order to minimize potential harm. Tweets that are placed behind the notice
      will not be available in the following areas of Twitter:

      • Tweets in the "Top Tweets" Home timeline

      • Safe search


      • Recommendations via push and Notifications tab

      • Email and text recommendations


      • Live event timeline


      • Explore tab



      Direct Message-level enforcement

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     Stopping conversations between a reported violator and the reporter's account: In a private
     Direct Message conversation, when a participant reports the other person, we will stop the
     violator from sending messages to the person who reported them. The conversation will
     also be removed from the reporter's Inbox. However, if the reporter decides to continue to
     send Direct Messages to the violator, the conversation will resume.

      Placing a Direct Message behind a notice: In a group Direct Message conversation, the
      violating Direct Message may be placed behind a notice to ensure no one else in the group
     can see it again.


      Account-level enforcement

      We take action at the account level if we determine that a person has violated the Twitter
      Rules in a particularly egregious way, or has repeatedly violated them even after receiving
      notifications from us.

      Requiring media or profile edits: If an account's profile or media content is not compliant
      with our policies, we may make it temporarily unavailable and require that the violator edit
     the media or information in their profile to come into compliance. We also explain which
      policy their profile or media content has violated.

      Placing an account in read-only mode: If it seems like an otherwise healthy account is in
     the middle of an abusive episode, we might temporarily make their account read-only,
      limiting their ability to Tweet, Retweet, or Like content until calmer heads prevail. The
      person can read their timelines and will only be able to send Direct Messages to their
     followers.

      When an account is in read-only mode, others will still be able to see and engage with the
      account. The duration of this enforcement action can range from 12 hours to 7 days,
      depending on the nature of the violation.

      Verifying account ownership: To ensure that violators do not abuse the anonymity we offer
      and harass others on the platform, we may require the account owner to verify ownership
      with a phone number or email address. This also helps us identify violators who are
      operating multiple accounts for abusive purposes and take action on such accounts. Note
     that when an account has been locked pending completion of a challenge (such as being
      required to provide a phone number), it is removed from follower counts, Retweets, and
      likes until it provides a phone number.

      Permanent suspension: This is our most severe enforcement action. Permanently
      suspending an account will remove it from global view, and the violator will not be allowed
      to create new accounts. When we permanently suspend an account, we notify people that
      they have been suspended for abuse violations, and explain which policy or policies they
      have violated and which content was in violation.


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     Violators can appeal permanent suspensions if they believe we made an error. They can do
     this through the platform interface or by filing a report
     (https://help.twitter.comhttps://help.twitter.com/forms/general?subtopic=suspended). Upon
     appeal, if we find that a suspension is valid, we respond to the appeal with information on
     the policy that the account has violated.


     Actions we may take against non-violating content

     Placing a Tweet behind a notice: We may place some forms of sensitive media
     (https://help.twitter.com/en/rules-and-policies/media-policy) like adult content or graphic
     violence behind an interstitial advising viewers to be aware that they will see sensitive
     media if they click through. This allows us to identify potentially sensitive content that
     some people may not wish to see. Learn more about how to control whether you see
     sensitive media (https://help.twitter.eom/en/safetv-and-securitv/sensitive-media#settinas).
     Withholding a Tweet or account in a countrv: We may withhold access to certain content in
     a particular country if we receive a valid and properly scoped request from an authorized
     entity in that country. We also clearly indicate within the product when content has been
     withheld. Read more about country withheld content (https://help.twitter.com/en/rules-and-
     policies/tweet-withheld-by-country).




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 69 of 130




EXHIBIT E
        Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 70 of 130




 <r
         Senza Vergogna
         5,733 Tvveets




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Senza Vergogna
@'Ba5ta_Lie5

Deliberate Manipulation
Incredible Crimes of the Century
The goal of socialism is to change reality, not to represent it
#MAGA #MAGA2020 #CryBabiesGoHome

© United States O Gcirn January 28, 1966 ([0 Joined February 2019
0 Foilovvina    0 Followers



      Tweets              Tweets & replies                 Media                 Likes



         Senza Vergogna ^Basta_Lies ■ Dec S, 2019
         GOP where are you???

          ^ Senza Vergogna @Basta_Lies • Dec A, 2019
           Replying tC' (S'seanhannit;../ and tS'ManzanaresBye
           Why isn't anyone asking these witnesses if ©JoeBiden s actions were
           impeachable?? ©RepMattGaetz


         Q               a



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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 71 of 130




EXHIBIT F
           Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 72 of 130


From:            Twitter
To:              Senza Verooona
Subject:         Your Twitter account has been locked
Date:            Thursday, November 7, 2019 4:40:30 PM




                  Hi Senza Vergogna,
                  Your account, @Basta_L[es has
                  been locked for violating the
                   Twitter Rules.

                   Specifically for:

                   Violating our rules against hateful conduct.
                  You may not promote violence against, threaten, or harass other
                  people on the basis of race, ethnicity, national origin, sexual
                  orientation, gender, gender identity, religious affiliation, age,
                  disability, or serious disease.


                            IKS   Senza Vergogna
                            ® @Basta_Lies
                           @AshleyW838 @Bonacker69 If I had special powers I
                           would reach through that video and Bitch slap that
                           commie Bitch who is yelling like a 3-year-oldll!




                  Please note that repeated violations may lead to a
                  permanent suspension of your account. Proceed to
                  Twitter now to fix the Issue with your account.




                                                  Meed eoeie

                       TvVitrer     1355 diatkel Sfree' Suite 900 San Francisco CA 94103




                                                                                       EXHIBIT F-1
           Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 73 of 130




From:                     Twitter < notiiy@twitter.com >
Sent:                     Thursday, December 5, 2019 9:54 AM
To:                       Senza Vergogna
Subject:                  Your Twitter account has been suspended




                                                   y
                  Hello Senza Vergogna,

                  Your account, Basta_Lies has been suspended for
                  violating the Twitter Rules.

                  Specifically, for:

                  Violating our ruies against abuse and
                  harassment.
                  You may not engage in the targeted harassment of
                  someone, or incite other people to do so. This includes
                  wishing or hoping that someone experiences physical
                  harm.


                             Senza Vergogna
                             @Basta_Lies

                    @washingtonpost Ya, let's all get all cutesy with a fkcn
                    #Traitor who should be hung if found guilty!! https://[...]



                  Note that if you attempt to evade a permanent
                  suspension by creating new accounts, we will suspend
                  your new accounts. If you wish to appeal this
                  suspension, please contact our support team.


                     Twitter, Inc. 1355 Market Street, Suite 900 San Francisco, CA 94103




                                                                                      EXHIBIT F-2
       Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 74 of 130




       The Washington Post© ©washingtonpost Dec 2                              v
       Analysis: Lisa Page is a uniquely convenient target for Trump's standard
       practice of belittling women




        Analysis
              |  Lisa Page is a uniquely convenient target for Trump's Stan...
        That she had an affair has dominated how he's talked about this
        former FBI laywer
         ,'was h I rI g10 n p0st.c0m

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       Senza Vergogna
       @Basta.Lies

Replying to ©washingtonpost

Ya, let's all get all cutesy with a fkcn #Traitor who should
be hung if found guilty!!




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 75 of 130




EXHIBIT G
                 Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 76 of 130




Appeal an account suspension or locked
account

Where are you
                               My desktop web browser
experieftcing this issue?


Descrtpton of probtem
                              t do not beleve my account violated Twitter Rules
                                                                                                                               0
                            Otscnbt th« ndur* of /our dpp#«i tfor tiampit wfry you do not            yoi^ account viot«!td Iho
                            Twittor Ruki or if you aro navtn^ d-tf^u!tiat urriuspcndtng or unKxKir)^ your accourd or i you
                            cannot pro-vida a phono r




Your information

Fulname




Twitter usemame




                            TMi is m« omad wn ust to comact you Entor your currori aOdrtts



Ptione number (opiieiun



Are you hwnan?                                  j, Google reCAPTCHA chalertge to proceed When you tap
                            Contnue Goo$^ may colect and use information at)oul you. your device, and
                            browser

                            View Google's Fnvacy Pctcy




account

Wtiere are you
                             My desktop web browser
expetlenctng this issue?


IDescrtption of problem
                             My Tweet'@washingtorpost Ya. lefs al get al cutesy with afkcn BTraitor who
                             should be hung if found guUtyll"

                             Simply redtes 18 U.S Code §2381 for Treason
                             Whoever,owing alegiance to the United States,levies war against them or
                             adheres to their enemies, giving them aid and comfort wltliin the Untied States
                             or elsewliere. is giilty of treason and shal suffer death, or shal be imprisoned
                             not less than five years and fined under this title but not less than S10.000; and
                             sftal be incapable of holding any office under trie United States

                             Capital punishment is a legal penalty in the United States, cumentty used by 29
                             states, the federal government, and the miltary Its existence can be traced to
                             trie beginning ol the American colonies. The United States Is the only
                             developed Western nation that apples ttie death penalty regutarty.

                             A traitor who is found guilty of Treason would or could be hung ir found gutty



                            D*(cnO«      n«tuf« of your opptol tfor oxomplo wtr/ you do nol btki«v« your occouri vioKtod th
                            Twiher Rufoi or if you «r«         d-fftculret unsutponding Of unfocktng your occourrt or if you
                            cannot pro'/tdo « plvoo* numbot)




 Your information

 Fulname




 Twitter usemame




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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 77 of 130




EXHIBIT H
           Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 78 of 130


From:               Twitter Support
To:                 1enves@comcast.net
Subject:            About your Twitter account 0134249287[ref:00DA0000000K0A8.5004A00G01pg9tO:ref]
Date:               Thursday, December 5, 2019 12:16:46 PM




           Hello,


           We're reviewing your appeal.


           We'll respond as soon as possible, and we appreciate your patience
           while we review your account.


           Thanks,


           Twitter




                                                                                                EXHIBIT H-1
        Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 79 of 130


From;                suDDOrt@twitter.CQm
To:                  ienves@comcast.net
Subject:             Case# 0134249287: Appealing an account suspension - @Basta_IJes[ref:_00DA0K0A8._5004Alpg9tO:ref]
Date:                Saturday, December 7, 2019 4:56:08 PM




           Hello,


           Your account has been suspended and will not be restored because it
           was found to be violating the Twitter Terms of Service, specifically the
           Twitter Rules against participating in targeted abuse.


           In order to ensure that people feel safe expressing diverse opinions
           and beliefs on our platform, we do not tolerate abusive behavior. This
           includes inciting other people to engage in the targeted harassment of
           someone.




           You can learn more about our rules against abusive behavior.


           Thanks,


           Twitter




ref:_00DA0K0A8._5004Alpg9tO:ref



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Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 80 of 130




EXHIBIT I
1/5/2020                 Case 1:20-cv-00536-SE Document  1-2
                                                     Twitter RulesFiled  05/04/20 Page 81 of 130
                                                                   enforcement




             Twitter RulOS                                                                       Twitter Rules enforcement-
                                                                                                 January to June 2018         V
             enforcement


                                                         Twitter Rules
                                   enforcement provides an
                                          overview of how and
                                          when we enforce our
                                                   content policies.

                                  On Twitter, you should feel safe expressing your
                                  unique point of view. While we welcome everyone to
                                  express themselves on our service, the Twitter Rules
                                 outline specific content policies that cover what types
                                 of behaviors are prohibited, and we strive to enforce
                                 these Rules consistently.




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1/5/2020                 Case 1:20-cv-00536-SE Document   1-2
                                                     Twitter RulesFiled   05/04/20 Page 82 of 130
                                                                   enforcement

                                  The Twitter Rules (along with all incorporated
                                  policies), Privacy Policy, and Terms of Service (TOS)
                                  collectively make up the "Twitter User Agreement"
                                  that governs a user's access to and use of Twitter's
                                  services.


                                  All individuals accessing or using Twitter's services
                                  must adhere to the policies set forth in the Twitter
                                  Rules. Failure to do so may result in Twitter taking one
                                  or more of the following enforcement actions:

                                       requiring you to remove prohibited content before
                                       you can again create new posts and interact with
                                       other Twitter users;


                                       temporarily limiting your ability to create posts or
                                       interact with other Twitter users;

                                       asking you to verify account ownership with a
                                       phone number or email address; or

                                       permanently suspending your account(s).

                                  Newly introduced for this transparency reporting
                                  period (January - June 2018), the Twitter Rules
                                  enforcment section includes information about the
                                  enforcement of the following Twitter Rules categories:
                                  abuse, child sexual exploitation (CSE), hateful
                                  conduct, private information, sensitive media, and
                                  violent threats.


                                  Previously, we have included high-level details about
                                  global government TOS reports. Since then, we have
                                  updated our approach to reporting on Twitter Rules
                                  enforcement. Instead of disaggregating this data in a
                                  separate page for a subset of reporters, the data
                                  below is inclusive of global government TOS reports.

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                                                   Twitter RulesFiled  05/04/20 Page 83 of 130
                                                                enforcement


                                 Across the six Twitter Rules policy categories
                                 included in this report, 6,229,323 unique accounts
                                 were reported for possible violations of the Twitter
                                  Rules. 5,461 of those accounts were reported by
                                  known government entities.

                                  During our review process, we may consider whether
                                  reported content violates aspects of the Twitter Rules
                                  beyond what was initially reported. If the content is
                                  determined to violate any Twitter Rules, it is then
                                  actioned accordingly. Not all reported accounts are
                                 found to violate the Twitter Rules, and reported
                                 accounts may be found to violate a different Rule
                                 than was initially reported.

                                 During this reporting period, action was taken on
                                 605,794 unique accounts for violation of these six
                                 Twitter Rules categories. 1,750 of those unique
                                 reported accounts found to be in violation of the
                                 Twitter Rules were reported by known government
                                 entities. More specific details about Twitter Rules
                                  enforcement is detailed below.




                Unique Accounts
                Reported




https://lransparencytwitter.corTVen/lvwtter-rules-enforcement.html#twitter-rules-enforcement-jarvjun-2018   EXHIBIT 1-1   3/15
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                        Case 1:20-cv-00536-SE Document   1-2
                                                    Twitter RulesFiled   05/04/20 Page 84 of 130
                                                                  enfbrcemertt



                                   Abuse



                                     CSE



                      Hateful Conduct



                   Private Information
                                               .                                1




                      Sensitive Media



                        Violent Threats



                                                                                    500,000                 1,000,000       1,50




                                               NOTE: The data in these reports is as
                                             accurate and comprehensive as possible.




                                                                About the
                                                                numbers
                                            Content on Twitter is generally flagged for
                                            review for possible Twitter Rules violations
                                            through our Help Center or in-app
                                            reporting, and we have a global team that
                                            manages enforcement of our Rules with
                                            24/7 coverage in every supported
                                            language on Twitter. Our goal is to apply
                                            the Twitter Rules objectively and
                                            consistently.

                                            Our current reporting process requires
                                            people to choose a specific reason they're
                                            reporting a Tweet or an account as being in
                                            violation of our Rules. Tweets or accounts
                                            may be reported for multiple violations. We

https://transparencytwitter.cofTVen/twitter-rules-enforcement.html#twitter-rules-enfbrcement-jan-jun-2018     EXHIBIT 1-1    4/15
1/5/2020                 Case 1:20-cv-00536-SE Document   1-2
                                                     Twitter RulesFiled  05/04/20 Page 85 of 130
                                                                  enforcement


                                            will take action on any identified violation
                                            of the Twitter Rules regardless of what
                                            reason was originally provided for the
                                            report. For example, content that was
                                            reported for abuse could ultimately be
                                            actioned under our violent threats policy.
                                            We may also determine that reported
                                            content does not violate the Rules at all.


                                            As a result, the Unique Accounts Reported
                                            per policy categories above do not
                                            necessarily fall within the Unique Accounts
                                            Actioned dataset below.




                 Unique Accounts
                Actioned

                                   Abuse



                                      CSE




                      Hateful Conduct



                   Private Information



                       Sensitive Media



                        Violent Threats



                                                                                    50,000                   100,000         150,



                                                  NOTE: The data in these reports is as
                                             accurate and comprehensive as possible.




https://lransparencytwitter.conrVen/twitter-rules-enforcement.html#lwitter-rules-enforcenient-jan-jun-2018     EXHIBIT 1-1    5/15
1/5/2020                 Case 1:20-cv-00536-SE Document  1-2
                                                     Twitter RulesFiled  05/04/20 Page 86 of 130
                                                                   enforcement


                                                                  About the
                                                                  numbers
                                             We use the term 'action' to refer to our
                                             range of enforcement actions, which
                                             include possible account suspension. This
                                             new Unique Accounts Actioned section
                                            focuses on the actions we've taken based
                                            on these six categories of the Twitter
                                            Rules: abuse, child sexual exploitation
                                            (CSE), hateful conduct, private information,
                                            sensitive media, and violent threats. Out of
                                            these six categories, we actioned 285,393
                                            accounts under hateful conduct policies,
                                            248,649 accounts under abuse policies,
                                            42,951 under violent threat policies, 28,900
                                            under sensitive media policies, 21,878
                                            under CSE policies, and 12,140 under
                                            private information policies.

                                            We will take action on any identified
                                            violation of the Twitter Rules regardless of
                                            what reason was originally provided for the
                                            report. For example, content that was
                                            reported for abuse could ultimately be
                                            actioned under our violent threats policy.
                                            We may also determine that reported
                                            content does not violate the Rules at all.


                                            As a result, the unique accounts actioned
                                            do not necessarily fall within the Unique
                                            Accounts Reported dataset above.

                                            More information on our approach to policy
                                            development and enforcement can be
                                            found here, and more details on the


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1/5/2020                Case 1:20-cv-00536-SE Document   1-2
                                                    Twitter RulesFiled   05/04/20 Page 87 of 130
                                                                  enforcement

                                           specific subsets of our Rules can be found
                                            below.




                                           Abuse policies
                                           enforcement
                                           We consider abusive behavior an attempt
                                           to harass, intimidate or silence someone
                                           else's voice. Some examples of abusive
                                           behavior include wishing or hoping serious
                                           harm on a person or group of people,
                                           threats to expose private information or
                                           intimate media, unwanted sexual
                                           advances, and aggressive insults or non-
                                           consensual slurs.


                                           Context matters when evaluating reports of
                                           abusive behavior and determining
                                           appropriate enforcement actions. Some
                                           Tweets may seem to be abusive when
                                           viewed in isolation, but may not be when
                                           viewed in the context of a larger
                                           conversation. Sometimes it's unclear if
                                           content is intended to harass an individual
                                           or if it is part of a consensual conversation.
                                           Examples of factors we consider include,
                                            but are not limited to, whether:


                                                the behavior is targeted at an individual
                                                or a group of people;

                                                the report has been filed by the target of
                                                the abuse or by a bystander; and

                                                the behavior is newsworthy and in the
                                                legitimate public interest.

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1/5/2020                 Case 1:20-cv-00536-SE Document  1-2
                                                     Twitter RulesFiled  05/04/20 Page 88 of 130
                                                                   enforcement


                                             Child sexual
                                             exploitation (CSE)
                                             policy enforcement
                                             We do not tolerate child sexual exploitation
                                             on Twitter. When we are made aware of
                                             links to images of or content promoting
                                             child sexual exploitation they will be
                                             removed from the site without further
                                            notice and reported to The National Center
                                            for Missing & Exploited Children
                                            ("NCMEC"). Users may report content that
                                            appears to violate the Twitter Rules
                                             regarding Child Sexual Exploitation via our
                                             web form or through in-app reporting.

                                            During this reporting period, we
                                            suspended a total of 487,363 unique
                                            accounts for violations related to child
                                            sexual exploitation. Of those unique
                                            accounts suspended,97% were flagged
                                            by a combination of technology (including
                                            PhotoDNA and internal, proprietary tools).



                                             Hateful conduct
                                             policies
                                            enforcement
                                             Under our hateful conduct policy, you may
                                            not promote violence against or directly
                                            attack or threaten other people on the
                                            basis of their inclusion in a protected group
                                            (i.e. race, ethnicity, national origin, sexual
                                            orientation, gender, gender identity,
                                            religious affiliation, age, disability, or
                                            serious disease). The Twitter Rules also                        r-vuiDix i
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1/5/2020                 Case 1:20-cv-00536-SE Document   1-2
                                                     Twitter RulesFiled  05/04/20 Page 89 of 130
                                                                   enforcement

                                            prohibit accounts with the primary purpose
                                            of inciting harm towards others on the
                                            basis of these categories.

                                            Examples of hateful conduct may also
                                            include:


                                                Targeting others with reference to mass
                                                 murder or violent events where the
                                                 protected groups are the primary targets
                                                or victims;


                                                Targeting someone with content that
                                                incites fear about others based on their
                                                inclusion in a protected group; and

                                                Sending someone unsolicited hateful
                                                imagery.



                                            Private information
                                            policies
                                            enforcement
                                            We prohibit the posting of other people's
                                            private information without their express
                                            authorization and permission.

                                            Examples of private information include:

                                                private contact or financial information,
                                                such as credit card information, social
                                                security or other national identity
                                                numbers;


                                                private residences or other locations
                                                that are considered private; and

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1/5/2020                                            Twitter Rules enforcement
                        Case 1:20-cv-00536-SE Document   1-2 Filed 05/04/20 Page 90 of 130
                                                non-public personal phone numbers and
                                                email addresses.


                                            Context matters, and not all postings of
                                           such information may be a violation of this
                                           policy. We consider the nature and public
                                           availability of the information posted, local
                                           privacy laws, and other case-specific
                                           facts. For example, if information was
                                           previously posted or displayed elsewhere
                                           on the Internet (e.g., someone lists their
                                           personal phone number on their public
                                           blog), repeating this information on Twitter
                                           may not be a violation of this policy.



                                           Sensitive media
                                            policies
                                           enforcements
                                           This section of our report reflects accounts
                                            actioned for violations of the Twitter Media
                                            Policy. Examples of content covered under
                                           this policy include:

                                                Graphic violence (e.g., media that
                                                depicts death or serious injury);

                                                Adult content (e.g., media that is
                                                pornographic or intended to cause
                                                sexual arousal);

                                                Intimate media (e.g., intimate photos or
                                                 videos of someone distributed without
                                                their consent); and




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1/5/2020                                             Twitter
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                                                                   enforcement
                                                                         05/04/20 Page 91 of 130
                                                 Hateful imagery (e.g., logos, symbols, or
                                                 images whose purpose is to promote
                                                 hostility and malice against others
                                                 based on protected category).

                                             While we want people to feel empowered
                                             to share media that reflects their creativity
                                             or individuality, or to show what's
                                             happening in the world, we have heard
                                            feedback that users don't want to be
                                             exposed to sensitive media inadvertently.
                                             Additionally, we continue to be concerned
                                             that repeated exposure to violent content
                                             online may negatively impact an
                                             individual's wellbeing. For these reasons,
                                             we allow some media containing graphic
                                             violence, adult content, or hateful imagery
                                             on Twitter so long as it is flagged as
                                             sensitive media (and therefore appears
                                             behind an interstitial warning message).
                                             However, the Twitter Rules prohibit
                                             including sensitive media in live video, or in
                                             profile or header images.

                                            Twitter also prohibits the posting of
                                            intimate photos or videos of someone that
                                            were produced or distributed without their
                                             consent.




                                             Violent threats
                                             policies
                                            enforcement
                                            The Twitter Rules prohibit violent threats.
                                            Specifically, we do not allow users to make
                                            specific threats of violence or wish for the
                                                                                                             pyu|R|T
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1/5/2020                                                                       Twitter Rules enforcement
                        Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 92 of 130
                                           serious physical harm, death, or disease of
                                           an individual or group of people. Examples
                                           of content covered under this policy
                                           include:


                                                Promoting terrorism;

                                                Soliciting bounties for serious violence;
                                                and


                                                Affiliating with organizations that use or
                                                promote violence against civilians to
                                               further their causes.


                                           During this reporting period. Twitter
                                           suspended 205,156 unique accounts for
                                           violations related to promotion of terrorism.
                                           We surfaced for review 91% of the unique
                                           accounts suspended using our internal,
                                           proprietary tools. While this total number of
                                           unique accounts suspended during the
                                           reporting period has decreased 25% since
                                           the previous reporting period, we believe
                                           this reflects the effectiveness of our
                                            proprietary technology in proactively
                                            identifying and challenging accounts at
                                            scale.




                                                                Footnotes

                                                Each report may identify multiple pieces
                                                of content to for potential Twitter Rules
                                                enforcement.


                                                     For example, a single report may ask
                                                     us to review individual Tweets or an
https://lransparencytwitter.cortVen/twitter-rules-enforcement.html#twitter-rules-enforcement-jan-jun-2018   EXHIBIT 1-1   12/15
1/5/2020                                            Twitter Rules enforcement
                        Case 1:20-cv-00536-SE Document   1-2 Filed 05/04/20 Page 93 of 130
                                                    entire user account.


                                                Reported content may be actioned for
                                                the reported reason, for other Rules
                                                violations, or if it is determined not to
                                                violate our Rules, no action will be taken.


                                                "Unique Accounts Reported" reflects
                                                the volume of accounts which users
                                                reported as potentially violating the
                                                Twitter Rules.


                                                    To provide meaningful metrics, we de-
                                                    duplicate accounts which were
                                                    reported multiple times(whether
                                                    multiple users reported an account for
                                                    the same potential violation, or
                                                    whether multiple users reported the
                                                    same account for different potential
                                                    violations). For the purposes of these
                                                    metrics, we similarly de-duplicate
                                                    reports of specific Tweets. This means
                                                    that even if we received reports about
                                                    multiple Tweets by a single user, we
                                                    only counted these reports towards
                                                    the "Unique Accounts Reported"
                                                     metric once.


                                                "Unique Accounts Actioned" reflects the
                                                volume of accounts that Twitter took
                                                some enforcement action on during this
                                                reporting period.

                                                     We use the term "action" to refer to
                                                    our range of enforcement actions,
                                                    which include possible account
                                                    suspension.

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                                                    Tvwtter RulesFiled  05/04/20 Page 94 of 130
                                                                 enforcement

                                                     To provide meaningful metrics, we de-
                                                     duplicate accounts which were
                                                     actioned multiple times for the same
                                                      policy violation. This means that if we
                                                     took action on a Tweet or account
                                                      under multiple policies, the account
                                                     would be counted separately under .
                                                     each policy. However, if we took
                                                     action on a Tweet or account multiple
                                                     times under the same policy (for
                                                     example, we may have placed an
                                                     account in read-only mode
                                                     temporarily and then later also
                                                     required media or profile edits on the
                                                     basis of the same violation), the
                                                      account would be counted once
                                                      under the relevant policy.




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1/5/2020                                                                       Twitter Rules enforcement
                        Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 95 of 130




            Twitter Rules                                                                         T,itterRul,,»fo,c,me«-Jul,
                                                                                                  to December 2018          V

            enforcement


                                  Twitter Rules
                                  enforcement provides an
                                  overview of how and
                                  when we enforce our
                                  content policies.

                                  On Twitter, you should feel safe expressing your
                                  unique point of view. While we welcome everyone to
                                  express themselves on our service, the Twitter Rules
                                  outline specific policies that explain what types of
                                  content and behaviors are prohibited, and we strive
                                  to enforce these Rules consistently.




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1/5/2020                                            Twitter R ules enforcement
                        Case 1:20-cv-00536-SE Document  1-2 Filed 05/04/20 Page 96 of 130
                                 The Twitter Rules(along with all incorporated
                                 policies), Privacy Policy, and Terms of Service (TOS)
                                 collectively make up the "Twitter User Agreement"
                                 that governs a user's access to and use of Twitter's
                                 services.


                                 All individuals accessing or using Twitter's services
                                  must adhere to the policies set forth in the Twitter
                                  Rules. Failure to do so may result in Twitter taking one
                                 or more enforcement actions, such as:


                                      temporarily limiting your ability to create posts or
                                      interact with other Twitter users;

                                      requiring you to remove prohibited content before
                                      you can again create new posts and interact with
                                      other Twitter users;


                                      asking you to verify account ownership with a
                                      phone number or email address; or

                                      permanently suspending your account(s).

                                 The Twitter Rules enforcement section includes
                                  information about the enforcement of the following
                                 Twitter Rules categories: abuse, child sexual
                                 exploitation (CSE), hateful conduct, private
                                 information, sensitive media, and violent threats. We
                                 support the spirit of the Santa Clara Principles on
                                 Transparency and Accountability in Content
                                  Moderation, and are committed to sharing more
                                  detailed information about how we enforce the Twitter
                                  Rules in future reports.




                 Unique Accounts
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1/5^020                                             Twitter Rules enforcement
                        Case 1:20-cv-00536-SE Document   1-2 Filed 05/04/20 Page 97 of 130

                Reported

                                  Abuse




                                     CSE




                     Hateful Conduct



                  Private Information



                      Sensitive Media



                       Violent Threats



                                                                        500,000                      1,000,000     1,500,000   2,0(




                                                 NOTE: The data in these reports is as
                                             accurate and comprehensive as possible.




                                                                About the
                                                                numbers
                                           Content on Twitter is generally flagged for
                                           review for possible Twitter Rules violations
                                           through our Help Center or in-app
                                           reporting. We have a global team that
                                            manages enforcement of our Rules with
                                            24/7 coverage in every supported
                                            language on Twitter. Our goal is to apply
                                            the Twitter Rules objectively and
                                            consistently.

                                            Across the six Twitter Rules policy
                                            categories included in this report,
                                            11,000,257 unique accounts were reported
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                        Case 1:20-cv-00536-SE Document   1-2RulesFiled
                                                                  enforcement
                                                                         05/04/20 Page 98 of 130
                                           for possible violations of those Twitter
                                           Rules, amounting to a 19% increase
                                           compared to the prior reporting period.
                                           6,388 of those accounts were reported by
                                           known government entities compared to
                                           5,461 reported during the last reported
                                            period, an increase of 17%.

                                           During our review process, we may
                                           consider whether reported content violates
                                           aspects of the Twitter Rules beyond what
                                           was initially reported. For example, content
                                           reported as a violation of our private
                                           information policy may also be a violation
                                           of our policies for hateful conduct. If the
                                           content is determined to violate any Twitter
                                           Rules, it is actioned accordingly. Not all
                                           reported accounts are found to violate the
                                           Twitter Rules, and reported accounts may
                                            be found to violate a different Rule than
                                           was initially reported.

                                           We may also determine that reported
                                           content does not violate the Rules at all.
                                            As a result, the Unique Accounts Reported
                                            per policy categories above do not
                                            necessarily fall within the Unique Accounts
                                            Actioned dataset below.




                 Unique Accounts
                Actioned




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                         Case 1:20-cv-00536-SE Document   1-2
                                                     Twitter RulesFiled  05/04/20 Page 99 of 130
                                                                  enforcement



                                   Abuse




                                      CSE



                      Hateful Conduct



                   Private Information
                                                     !




                      Sensitive Media



                        Violent Threats



                                                                                         50,000                100,000



                                               NOTE: The data in these reports is as
                                             accurate and comprehensive as possible.




                                                                 About the
                                                                 numbers
                                            We use the term 'action' to refer to our
                                            range of enforcement actions, which
                                            include possible account suspension. The
                                            Unique Accounts Actioned section focuses
                                            on the actions we've taken based on these
                                            six categories of the Twitter Rules: abuse,
                                            child sexual exploitation (CSE), hateful
                                            conduct, private information, sensitive
                                            media, and violent threats. Out of these six
                                            categories, we actioned 250,806 accounts
                                            under hateful conduct policies, 235,455
                                            accounts under abuse policies, 56,577
                                            under violent threat policies, 30,907 under
                                            sensitive media policies, 29,824 under QBE


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1/5/2020                                                                      Twitter Rules enforcement
                       Case 1:20-cv-00536-SE Document 1-2 Filed 05/04/20 Page 100 of 130
                                           policies, and 8,994 under private
                                           information policies.

                                           We will take action on any identified
                                           violation of the Twitter Rules regardless of
                                           what reason was originally provided for the
                                           report. For example, content that was
                                           reported for abuse could ultimately be
                                           actioned under our violent threats policy.
                                           We may also determine that reported
                                           content does not violate the Rules at all.
                                           As a result, the Unique Accounts Actioned
                                           do not necessarily fall within the Unique
                                           Accounts Reported dataset above.

                                           During this reporting period, we actioned
                                           612,563 unique accounts for violation of
                                           these six Twitter Rules categories,
                                           amounting to a 4% decrease since the last
                                           reporting period. 1,601 of those unique
                                           reported accounts found to be in violation
                                           of the Twitter Rules were reported by
                                           known government entities compared to
                                           1,750 reported during the last reporting
                                           period, an 8% decrease.

                                           More information on our approach to policy
                                           development and enforcement can be
                                           found here, and information about
                                           enforcement of each of these Twitter Rules
                                           categories is detailed below.



                                           Abuse policies
                                           enforcement
                                            We consider abusive behavior an attempt
                                           to harass, intimidate or silence someone                        cymirit I 9
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                                                   Twitter            05/04/20 Page 101 of 130
                                                                enforcement

                                           else's voice. Some examples of abusive
                                           behavior include wishing or hoping serious
                                           harm on a person or group of people,
                                           threats to expose private information or
                                           intimate media, unwanted sexual
                                           advances, and aggressive insults or non-
                                           consensual slurs.


                                           Context matters when evaluating reports of
                                           abusive behavior and determining
                                           appropriate enforcement actions. Some
                                           Tweets may seem to be abusive when
                                           viewed in isolation, but may not be when
                                           viewed in the context of a larger
                                           conversation. Sometimes it's unclear if
                                           content is intended to harass an individual
                                           or if it is part of a consensual conversation.
                                           When evaluating reported content in
                                           context, we consider factors such as
                                           whether:


                                               the behavior is targeted at an individual
                                               or a group of people;

                                                the report has been filed by the target of
                                                the abuse or by a bystander; and

                                                the behavior is newsworthy and in the
                                                legitimate public interest.



                                            Child sexual
                                           exploitation (CSE)
                                           policy enforcement
                                            We do not tolerate child sexual exploitation
                                            on Twitter. When we are made aware of
                                            child sexual exploitation media, including                     cvuidit i o
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                                                   Twitter RulesFiled  05/04/20 Page 102 of 130
                                                                 enforcement

                                           links to images of or content promoting
                                           child exploitation, the material will be
                                           removed from the site without further
                                          notice and reported to The National Center
                                          for Missing & Exploited Children
                                          ("NCMEC"). Users may report content that
                                          appears to violate the Twitter Rules
                                          regarding Child Sexual Exploitation via our
                                          web form or through in-app reporting.

                                           During this reporting period, we
                                           suspended a total of 456,989 unique
                                           accounts for violations related to child
                                           sexual exploitation. Of those unique
                                           accounts suspended,96% were flagged
                                           by a combination of technology (including
                                           PhotoDNA and internal, proprietary tools).



                                           Hateful conduct
                                           policies
                                           enforcement
                                           Under our hateful conduct policy, you may
                                           not promote violence against or directly
                                           attack or threaten other people on the
                                           basis of their inclusion in a protected group
                                           (i.e., race, ethnicity, national origin, sexual
                                           orientation, gender, gender identity,
                                           religious affiliation, age, disability, or
                                           serious disease). The Twitter Rules also
                                            prohibit accounts with the primary purpose
                                           of inciting harm towards others on the
                                           basis of these categories. Examples of
                                           hateful conduct may also include:



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                                                    Twitter   Filed    05/04/20 Page 103 of 130
                                                                 enforcement

                                                Targeting someone with reference to
                                                 mass murder or violent events where the
                                                 protected groups are the primary targets
                                                or victims;


                                                Targeting someone with content that
                                                incites fear about others based on their
                                                inclusion in a protected group; and

                                                Sending someone unsolicited hateful
                                                imagery.



                                            Private information
                                            policies
                                           enforcement
                                            We prohibit the posting of other people's
                                            private information without their express
                                            authorization and permission. Examples of
                                            private information include:


                                                Private identifiers or financial
                                                information, such as credit card
                                                information, social security or other
                                                national identity numbers;

                                                Locations of private residences or other
                                                places that are considered private; and

                                                Non-public personal contact
                                                information, such as phone numbers and
                                                email addresses.


                                            Context matters, and not all postings of
                                           such information may be a violation of this
                                            policy. We consider the nature and public
                                            availability of the information posted, local
                                                                                                           pyujRiT |_9
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                                                                 enforcement

                                            privacy laws, and other case-specific
                                            facts. For example, if information was
                                            previously posted or displayed elsewhere
                                            on the Internet (e.g., someone lists their
                                            personal phone number on their public
                                            blog), repeating this information on Twitter
                                            may not be a violation of this policy.

                                             During this period, we saw a 41% increase
                                             in accounts reported for potential
                                             violations of our Private Information
                                             policies. This increase could be attributed
                                            to the launch of improvements to our
                                            reporting flow that make it easier to report
                                             private information.




                                                                                  media
                                             policies
                                            enforcements
                                            This section of our report reflects accounts
                                            actioned for violations of the Twitter Media
                                            Policy. Examples of content covered under
                                            this policy include:

                                                 Graphic violence (e.g., media that
                                                 depicts death or serious injury);

                                                 Adult content (e.g., media that is
                                                 pornographic or intended to cause
                                                 sexual arousal);

                                                 Intimate media (e.g., intimate photos or
                                                 videos of someone distributed without
                                                their consent); and


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                                                    Twitter            05/04/20 Page 105 of 130
                                                                 enforcement


                                                Hateful imagery (e.g., logos, symbols, or
                                                images whose purpose is to promote
                                                hostility and malice against others
                                                based on protected category).

                                           While we want people to feel empowered
                                           to share media that reflects their creativity
                                           or individuality, or to show what's
                                           happening in the world, we have heard
                                           feedback that users don't want to be
                                           exposed to sensitive media inadvertently.
                                           Additionally, we continue to be concerned
                                           that repeated exposure to violent content
                                           online may negatively impact an
                                           individual's wellbeing. For these reasons,
                                           we allow some media containing graphic
                                           violence, adult content, or hateful imagery
                                           on Twitter so long as it is flagged as
                                           sensitive media (and therefore appears
                                           behind an interstitial warning message).
                                           However, the Twitter Rules prohibit
                                           including sensitive media in live video, or in
                                           profile or header images.

                                            Twitter also prohibits the posting of
                                            intimate photos or videos of someone that
                                            were produced or distributed without their
                                            consent.




                                            Violent threats
                                            policies
                                           enforcement
                                           The Twitter Rules prohibit violent threats.
                                            Specifically, we do not allow users to make
                                            specific threats of violence or wish for the
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1/5/2020                Case 1:20-cv-00536-SE Document 1-2Rules
                                                    Twitter  Filed    05/04/20 Page 106 of 130
                                                                enforcement

                                            serious physical harm, death, or disease of
                                            an individual or group of people. Examples
                                            of content covered under this policy
                                            include:


                                                Promoting terrorism;

                                                Soliciting bounties for serious violence;
                                                and


                                                Affiliating with and promoting
                                                organizations that use or promote
                                                violence against civilians to further their
                                                causes.



                                           During this reporting period. Twitter
                                           suspended 166,513 unique accounts for
                                           violations related to promotion of terrorism.
                                           We surfaced for review 91% of the unique
                                           accounts suspended using our internal,
                                           proprietary tools. While this total number of
                                           unique accounts suspended during the
                                           reporting period has decreased 19% since
                                           the previous reporting period, we believe
                                           this reflects the effectiveness of our
                                           proprietary technology in proactively
                                           identifying and challenging accounts at
                                           scale.




                                                               Footnotes
                                                Each report may identify multiple pieces
                                                of content for Twitter to review.


                                                    For example, a single report may ask
                                                    us to review individual Tweets or an

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                                                                   enforcement

                                                         entire user account.


                                                    Reported content may be actioned for
                                                    the reported reason or for other Rules
                                                    violations.f If we determine the reported
                                                    content does not violate our Rules, no
                                                    action will be taken.


                                                    "Unique Accounts Reported" reflects
                                                    the total number of accounts which
                                                    users reported as potentially violating
                                                    the Twitter Rules.


                                                        To provide meaningful metrics, we
                                                        deduplicate accounts which were
                                                        reported multiple times(whether
                                                        multiple users reported an account for
                                                        the same potential violation, or
                                                        whether multiple users reported the
                                                        same account for different potential
                                                        violations). For the purposes of these
                                                        metrics, we similarly de-duplicate
                                                        reports of specific Tweets. This means
                                                        that even if we received reports about
                                                        multiple Tweets by a single user, we
                                                        only counted these reports towards
                                                        the "Unique Accounts Reported"
                                                         metric once.


                                                   "Unique Accounts Actioned" reflects the
                                                   total number of accounts that Twitter
                                                   took some enforcement action on during
                                                   this reporting period.

                                                        We use the term "action" to refer to
                                                        our range of enforcement actions,
                                                        which include possible account
                                                        suspension.
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                                                                 enforcement

                                                      To provide meaningful metrics, we de-
                                                      duplicate accounts which were
                                                      actioned multiple times for the same
                                                      policy violation. This means that if we
                                                      took action on a Tweet or account
                                                      under multiple policies, the account
                                                      would be counted separately under
                                                      each policy. However, if we took
                                                      action on a Tweet or account multiple
                                                      times under the same policy (for
                                                      example, we may have placed an
                                                      account in read-only mode
                                                      temporarily and then later also
                                                      required media or profile edits on the
                                                      basis of the same violation), the
                                                      account would be counted once
                                                      under the relevant policy.




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1/5/2020                Case 1:20-cv-00536-SE Document 1-2Rules
                                                    Twitter  Filed   05/04/20 Page 109 of 130
                                                                enforcement




             Twitter RulOS                                             Twitter Rules enforcement -
                                                                       January to June 2019          V
             enforcement


                                   Twitter Rules
                                   enforcement provides an
                                   overview of how and
                                   when we enforce our
                                   content policies.

                                   Twitter's purpose is to serve the public conversation.
                                   We welcome everyone to share their unique point of
                                   view on Twitter, but there are some behaviors that
                                   discourage others from expressing themselves or
                                   place people at risk of offline harm. The Twitter Rules
                                  exist to help ensure that all people can participate in
                                  the public conversation freely and safely, and include
                                  specific policies that explain the types of content and

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                                                                enforcement

                                   behavior that are prohibited. We are deeply
                                   committed to improving the health of the public
                                   conversation and strive to enforce our Rules
                                   consistently.

                                   The Twitter Rules (along with all incorporated
                                   policies), Privacy Policy, and Terms of Service (TOS)
                                   collectively make up the "Twitter User Agreement"
                                   that governs a user's access to and use of Twitter's
                                   services.


                                   All individuals accessing or using Twitter's services
                                   must adhere to the policies set forth in the Twitter
                                   Rules. Failure to do so may result in Twitter taking one
                                   or more enforcement actions, such as:


                                       temporarily limiting your ability to create posts or
                                       interact with other Twitter accounts;

                                       requiring you to remove prohibited content before
                                        you can create new posts and interact with other
                                       Twitter accounts;

                                       asking you to verify account ownership by
                                       providing a phone number or email address; or

                                        permanently suspending your account(s).

                                   The Twitter Rules enforcement section includes
                                   information about the enforcement of the following
                                   Twitter Rules categories: abuse, child sexual
                                   exploitation (CSE), hateful conduct, private
                                   information, sensitive media, violent threats, and
                                   impersonation. This is the first time that information
                                   about our impersonation policy enforcement has been
                                   included in the report.



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                                                                  enforcement


                                    We support the spirit of the Santa Clara Principles on
                                    Transparency and Accountability in Content
                                    Moderation, and are committed to sharing more
                                    detailed information about how we enforce the Twitter
                                    Rules in future reports.




                  Unique Accounts
                  Reported

                                    Abuse



                                      CSE



                      Hateful Conduct



                         Impersonation



                   Private Information



                       Sensitive Media



                        Violent Threats




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                                                 NOTE: The data in these reports is as
                                               accurate and comprehensive as possible.




                                                                     About the
                                                                     numbers

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                                                                enforcement

                        Content on Twitter is generally flagged for
                        review for possible Twitter Rules violations
                        through our Help Center or in-app
                        reporting. We have a global team that
                        manages enforcement of our Rules with
                        24/7 coverage in every supported
                        language on Twitter. Our goal is to apply
                        the Twitter Rules objectively and
                        consistently.

                        Across the seven Twitter Rules policy
                        categories included in this report,
                        15,638,349 unique accounts were reported
                        for possible violations of the Twitter Rules,
                        amounting to a 42% increase compared to
                        the prior reporting period. 7,760 of these
                        accounts were reported by known
                        government entities compared to 6,388
                        reported during the last reported period,
                        an increase of 21%.


                        During our review process, we may
                        consider whether reported content violates
                        aspects of the Twitter Rules beyond what
                        was initially reported. For example, content
                        reported as a violation of our private
                        information policy may be in violation of our
                        policies on hateful conduct. If reported
                        content is determined to violate any Twitter
                        Rule during the review process, it is
                        actioned accordingly.

                        We may also determine that reported
                        content does not violate the Rules at all.
                        As a result, the Unique Accounts Reported
                        per policy categories above do not



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                        necessarily fall within the Unique Accounts
                        Actioned dataset below.




                 Unique Accounts
                 Actioned

                                   Abuse




                                      CSE




                      Hateful Conduct



                         Impersonation



                   Private Information



                       Sensitive Media



                        Violent Threats

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                                                    NOTE: The data in these reports is as
                                               accurate and comprehensive as possible.




                                                                      About the
                                                                      numbers
                                              We use the term 'action' to refer to our
                                              range of enforcement actions, which
                                              includes possible account suspension.
                                              During this reporting period, we actioned
                                              1,254,226 unique accounts for violation of

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                                                    Twitter            05/04/20 Page 114 of 130
                                                                 enforcement


                                            the included Twitter Rules categories,
                                            amounting to an 105% increase since the
                                            last reporting period. This increase may be
                                            attributable to a number of factors,
                                            including our increased focus on
                                            proactively surfacing potentially violating
                                            content for human review, the 42%
                                            increase in the number of reports received,
                                            and the inclusion of impersonation data for
                                            the first time.


                                            1,791 of the unique reported accounts
                                            found to be in violation of the Twitter Rules
                                            were reported by known government
                                            entities, compared to 1,601 reported and
                                            actioned during the last reporting period,
                                            an 11% increase.


                                            Across the seven Twitter Rules categories
                                            included in this report, we actioned
                                            395,917 accounts under abuse policies,
                                            584,429 accounts under hateful conduct
                                            policies, 43,536 under sensitive media
                                            policies, 30,107 under CSE policies,
                                            124,339 under impersonation policies,
                                            19,679 under private information policies,
                                            and 56,219 under violent threats policies.

                                            During the review process, we will take
                                            action on any identified violation of the
                                            Twitter Rules, regardless of the original
                                            reporting reason. For example, content that
                                            was reported for abuse could ultimately be
                                            actioned under our violent threats policy.
                                            We may also determine that reported
                                            content does not violate the Rules at all.
                                            As a result, the Unique Accounts Actioned

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                                                                enforcement

                                              do not necessarily fall within the Unique
                                              Accounts Reported dataset above.

                                              More information on our approach to policy
                                             development and enforcement can be
                                             found here, and information about
                                              enforcement of each of these Twitter Rules
                                              categories is detailed below.




                                             Abuse policies
                                             enforcement
                                              We define abusive behavior as an attempt
                                             to harass, intimidate or silence someone
                                             else's voice. Some examples of abusive
                                             behavior include wishing or hoping serious
                                             harm on a person or group of people,
                                             encouraging someone to engage in self-
                                             harm, threats to expose someone's private
                                             information or intimate media, unwanted
                                             sexual advances, and aggressive insults or
                                             non-consensual slurs.


                                             Context matters when evaluating reports of
                                             abusive behavior and determining
                                             appropriate enforcement actions. Some
                                             Tweets may seem to be abusive when
                                             viewed in isolation, but when viewed in the
                                             context of a larger conversation do not
                                             have the same meaning. Sometimes it's
                                             unclear if content is intended to harass an
                                             individual or if it is part of a consensual
                                             conversation. When evaluating reported
                                             content in context, we consider factors
                                             such as whether:




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                                                    Twitter   Filed    05/04/20 Page 116 of 130
                                                                 enforcement

                                                 the behavior is targeted at an individual
                                                 or a group of people;

                                                 the report has been filed by the target of
                                                 the abuse or by a bystander; and

                                                 the behavior is newsworthy and in the
                                                 public interest.


                                            During this reporting period, we saw a
                                            22% increase in accounts reported for
                                            potential violations of our abuse policies
                                            and actioned against 395,917 unique
                                            accounts for abuse violations.




                                             Hateful conduct
                                             policies
                                            enforcement
                                            Under our hateful conduct policy, you may
                                            not promote violence against or directly
                                            attack or threaten other people on the
                                            basis of their perceived inclusion in a
                                            protected category (i.e., race, ethnicity,
                                            national origin, sexual orientation, gender,
                                            gender identity, religious affiliation, age,
                                            disability, or serious disease). The Twitter
                                             Rules also prohibit accounts with the
                                            primary purpose of inciting harm against
                                            others on the basis of these categories.
                                            Examples of hateful conduct may also
                                            include:


                                                 targeting someone with references to
                                                 types of violence or violent events where
                                                 people were targeted on the basis of

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                                                    Twitter            05/04/20 Page 117 of 130
                                                                 enforcement


                                                 their membership in a protected
                                                 category;


                                                 targeting someone with content that
                                                 incites fear about others based on their
                                                 membership in a protected category;
                                                 and


                                                 sending someone unsolicited hateful
                                                 imagery.

                                            During this reporting period, we saw a
                                            48% increase in accounts reported for
                                            potential violations of our hateful conduct
                                            policies and actioned against 584,429
                                            unique accounts for hateful conduct
                                             violations.




                                            Sensitive media
                                             policies
                                            enforcement
                                             This section of our report reflects accounts
                                             actioned for violations of the sensitive
                                             media policy. People use Twitter to show
                                             what's happening in the world, often
                                             sharing images and videos as part of the
                                             conversation. Sometimes, this media can
                                             depict sensitive topics. We recognize that
                                             some people may not want to be exposed
                                             to sensitive content, which is why we
                                             balance allowing people to share this type
                                             of media with helping people who want to
                                             avoid it to do so. For this reason, you can't
                                             include violent, hateful, or adult content
                                             within areas that are highly visible on

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                                                     Twitter  Filed   05/04/20 Page 118 of 130
                                                                 enforcement

                                               Twitter, including live video, and profile or
                                               header images. If you share this content
                                               within Tweets, you need to mark your
                                               account as sensitive (which places your
                                              images and videos behind an interstitial or
                                              warning message). Under this policy, we
                                              don't allow any media related to violent
                                              sexual conduct or gratuitous gore,
                                              because they have the potential to
                                               normalize violence and cause distress to
                                              those who view them.


                                              Examples of content covered under these
                                               policies include:


                                                   graphic violence (e.g., media that
                                                   depicts death or serious injury);

                                                   adult content (e.g., media that is
                                                   pornographic or intended to cause
                                                   sexual arousal);

                                                   violent sexual conduct (e.g., media that
                                                   depicts violence, whether real or
                                                   simulated, in association with sexual
                                                   acts);

                                                   gratuitous gore (e.g., media that depicts
                                                   excessively graphic or gruesome
                                                   content related to death, violence or
                                                  severe physical harm, or violent content
                                                  that is shared for sadistic purposes);
                                                  and


                                                  hateful imagery (e.g., logos, symbols, or
                                                  images whose purpose is to promote
                                                  hostility and malice against others on
                                                  the basis of protected category).
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                                             During this reporting period, we saw a
                                            37% increase in accounts reported for
                                             potential violations of our sensitive media
                                             policies and actioned 43,536 unique
                                            accounts for sensitive media violations.




                                            Child sexual
                                            exploitation (CSE)
                                            policy enforcement
                                            We do not tolerate child sexual exploitation
                                            on Twitter. When we are made aware of
                                            child sexual exploitation media, including
                                            links to images of or content promoting
                                            child exploitation, the material will be
                                            removed from the site without further
                                            notice and reported to The National Center
                                            for Missing & Exploited Children
                                           ("NCMEC"). People can report content that
                                           appears to violate the Twitter Rules
                                            regarding Child Sexual Exploitation via our
                                             web form or through in-app reporting.

                                             During this reporting period, we
                                            suspended a total of 244,188 unique
                                            accounts for violations related to child
                                            sexual exploitation. Of those unique
                                            accounts suspended,91% were flagged
                                            by a combination of technology (including
                                            PhotoDNA and internal, proprietary tools).



                                            Impersonation
                                            policies
                                            enforcement
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                                                                 enforcement


                                            For the first time, we're reporting metrics
                                            pertaining to our impersonation policy,
                                            impersonation occurs when an account
                                             poses as another person, brand, or
                                            organization in a confusing or deceptive
                                            manner and is prohibited by the Twitter
                                            Rules. During this reporting period, we
                                            actioned 124,339 accounts for violating our
                                            impersonation policy.



                                                                    information
                                             policies
                                            enforcement
                                            This section provides information about
                                            accounts actioned under our private
                                            information and non-consensual
                                            nudity policies. Under these policies, you
                                            cannot share people's private information
                                            or their intimate photos or videos without
                                            their express authorization and permission.
                                            Examples of content covered by these
                                            policies include:

                                                 private identifiers or financial
                                                 information, such as credit card
                                                 information, social security or other
                                                 national identity numbers;

                                                 locations of private residences or other
                                                 places that are considered private;

                                                 non-public personal contact information,
                                                 such as phone numbers and email
                                                 addresses; and


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                                                    Twitter  Filed   05/04/20 Page 121 of 130
                                                                enforcement

                                                 non-consensual nudity (e.g., explicit
                                                 sexual images or videos of someone
                                                 produced or distributed without their
                                                 consent).

                                             Context matters, and not all postings of
                                            such information may be a violation of this
                                            policy. We consider the nature and public
                                            availability of the information posted, local
                                            privacy laws, and other case-specific
                                            facts. For example, if the information was
                                            previously posted or shared elsewhere on
                                            the internet (e.g., someone lists their
                                            personal phone number on their public
                                            blog), repeating it on Twitter may not be a
                                            violation of this policy.

                                            During this period, we saw a 48% increase
                                            in accounts reported for potential
                                            violations of our private information policies
                                            and actioned 19,679 unique accounts for
                                            private information violations. This increase
                                            is likely related to updates to our private
                                            information reporting flow and internal
                                            enforcement processes, which now permit
                                            bystanders to report more potential private
                                            information violations for review.




                                            Violent threats
                                             pollcies
                                            enforcement
                                            The Twitter Rules prohibit violent threats
                                            and the promotion of terrorism and violent
                                            extremism. Specifically, we do not allow
                                            users to make specific threats of violence

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                                                                  enforcement

                                            against an individual or group of people, or
                                            threaten or promote violent extremism or
                                            terrorism. Examples of content covered
                                            under this policy include:

                                                 explicit statements of intent to inflict
                                                 violence on a specific person or group of
                                                 people;

                                                 promoting terrorism;

                                                 soliciting or offering bounties in
                                                 exchange for committing serious acts of
                                                 violence; and


                                                 affiliating with and promoting
                                                 organizations that use or promote
                                                 violence against civilians to further their
                                                 causes.



                                             During this reporting period, we saw a
                                             17% increase in accounts reported for
                                             potential violations of our violence &
                                             extremism policies and actioned 56,219
                                             unique accounts for policy violations.

                                             Twitter suspended 115,861 unique
                                             accounts for violations related to
                                             promotion of terrorism. We surfaced for
                                             review 87% of the unique accounts
                                             suspended using our internal, proprietary
                                             tools. While this total number of unique
                                             accounts suspended during the reporting
                                             period has decreased 30% since the
                                             previous reporting period, this likely
                                             reflects the changing behaviour patterns
                                             and is generally consistent with an overall

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                                               downward trend we have been noticing
                                               over the past several years.




                                                                      Footnotes
                                                   Each report may identify multiple pieces
                                                   of content for Twitter to review. For
                                                   example, a single report may ask us to
                                                   review individual Tweets or an entire
                                                   user account.


                                                   Reported content may be actioned for
                                                   the reported reason or for other Rules
                                                   violations. If we determine the reported
                                                   content does not violate our Rules, no
                                                   action will be taken.


                                                   "Unique Accounts Reported" reflects
                                                   the total number of accounts which
                                                   users reported as potentially violating
                                                   the Twitter Rules.


                                                       To provide meaningful metrics, we
                                                       deduplicate accounts which were
                                                       reported multiple times(whether
                                                       multiple users reported an account for
                                                       the same potential violation, or
                                                       whether multiple users reported the
                                                       same account for different potential
                                                       violations). For the purposes of these
                                                       metrics, we similarly de-duplicate
                                                       reports of specific Tweets. This means
                                                       that even if we received reports about
                                                       multiple Tweets by a single user, we
                                                       only counted these reports towards


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                                                                enforcement

                                                      the "Unique Accounts Reported"
                                                       metric once.


                                                 "Unique Accounts Actioned" reflects the
                                                 total number of accounts that Twitter
                                                 took some enforcement action on during
                                                 this reporting period.

                                                      We use the term "action" to refer to
                                                      our range of enforcement actions,
                                                      which includes possible account
                                                      suspension.

                                                      To provide meaningful metrics, we de-
                                                      duplicate accounts which were
                                                      actioned multiple times for the same
                                                      policy violation. This means that if we
                                                      took action on a Tweet or account
                                                      under multiple policies, the account
                                                      would be counted separately under
                                                      each policy. However, if we took
                                                      action on a Tweet or account multiple
                                                      times under the same policy (for
                                                      example, we may have placed an
                                                      account in read-only mode
                                                      temporarily and then later also
                                                      required media or profile edits on the
                                                      basis of the same violation), the
                                                      account would be counted once
                                                      under the relevant policy.

                                                      If a reported account is determined to
                                                     be dedicated to violating the Twitter
                                                     Rules i.e., the vast majority of content
                                                     and account activity is in violation of
                                                     the Rules, we may permanently
                                                     suspend the account under our
                                                     "majority abuse" policy. This data is      cvuidit
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                                                    reflected under the abuse section of
                                                     Unique Accounts Actioned within this
                                                    report.




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               IT               Blog




               Company

               15th Transparency Report:
               Increase in proactive
               enforcement on accounts
               By Twitter Inc.
               Thursday, 31 October 2019


               We're continually striving to be more proactive and open in the work we do to serve the
               public conversation on Twitter. Part of that effort is our biannual Twitter Transparency
               Report fhttps://transDarencv.twitter,com/en.htm h. which we've produced since July 2012 to
               share global trends across a number of areas of our enforcement on Twitter, including
               the Twitter Rules and legal requests we receive.


               The report is ever-evolving. For the first time, we're incorporating data and insights
               regarding impersonation rhttDs://helD.twitter.com/en/mles-and-Dolicies/twitter-imDersonation-Dolicv)
               policy enforcement, as well as state-backed information operations
               fhttDs://transDarencv.twitter.com/en/information-ODerations.htmn datasets that were previously
               released to the public to empower research and awareness of these campaigns.

               Since the last Twitter Transparency Report, we've continued to further invest in proactive
               technology to positively and directly impact people's conversations on the service.

               Here are key highlights from that work, which relate to the latest reporting period
               (January 1 to June 30,2019)*;




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                   • More than 50% of Tweets we take action on for abuse
                        rhttDs://s22.a4cdn.com/826641620/files/doc financials/2Q19/a3/Q3-2019-Shareholder-Letter.Ddfi

                        are now proactively surfaced using technology, rather than relying on reports to
                        Twitter;
                   • 105% increase in accounts actioned by Twitter(locked or suspended for violating
                        the Twitter Rules);
                   • Continuing a year-on-year trend, a 30% decrease in accounts suspended for the
                     promotion of terrorism; and
                   • 67% more global legal demands, originating from 49 different countries.

               *AII figures compared to the last reporting period.


               Twitter Rules enforcement

               Our continued investment in proprietary technology is steadily reducing the burden on
               people to report to us. For example, more than 50% of Tweets we take action on for
               abuse (https://s22.a4cdn.com/826641620/files/doc financials/2019/a3/Q3-2019-Shareholder-Letter.pdf)

               are now being surfaced using technology. This compares to just 20% a year ago.

               Additionally, due to a combination of our increased focus on proactively surfacing
               potentially violative content for human review
               fhttps://twitter.com/TwitterSafetv/status/1118184170591674368) and the inclusion of
               impersonation data for the first time, we saw a 105% increase in accounts locked or
               suspended for violating the Twitter Rules.


               Specific policy content areas:




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                   • Private information (https://help.twitter.com/en/rules-and-policies/personal-
                        information): We saw a 48% increase in accounts reported for potential violations of
                        our private information policies. We suspended 119% more accounts than the
                        previous reporting period. This increase may be attributed to the launch of
                        improvements to our reporting flow that make it easier to report private
                        information, as well as changes to our internal enforcement processes which
                        permit bystanders to report potential private information violations for review.
                   • Sensitive media (https://help.twitter.com/en/rules-and-policies/media-policyV We
                     saw a 37% increase in accounts reported for potential violations of our sensitive
                     media policies. We actioned 41% more accounts.
                   • Hateful conduct(https://help.twitter.com/en/rules-and-policies/hateful-conduct-
                     poiicv): There was a 48% increase in accounts reported for potential violations of
                     our hateful conduct policies. We actioned 133% more accounts compared to the
                     last reporting period.
                   • Abuse (https://help.twitter.com/en/rules-and-policies/abusive-profile1: We saw a
                     22% increase in accounts reported for potential violations of our abuse policies.
                     We took action on 68% more accounts compared to the last reporting period.
                   • Impersonation (https://help.twitter.com/en/rules-and-policies/twitter-impersonation-
                     Doiicvi: Impersonation is when an account poses as another person, brand, or
                     organization in a confusing or deceptive manner and is prohibited by the Twitter
                     Rules. During this reporting period, we took enforcement action on 124,339
                     accounts for violating our impersonation policy.


               Platform manipulation
               We also continue to focus on deterring potentially spammy accounts at the time of
               account creation; often before their first Tweet. However, our enforcement actions tend
               to fluctuate for a variety of reasons, often due to the type of spam.


               This reporting period, our anti-spam challenges — where we ask people to provide a
               phone number or email address or fill in a ReCAPTCHA code to verity there is a human
               behind an account — fell by nearly 50%.


               Removai of terrorist content

               A total of 115,861 accounts were suspended for violations related to the promotion of
               terrorism this reporting period, down 30% from the previous reporting period. This
               continues a year-on-year decrease in the number of accounts promoting terrorist
               content on Twitter as we take more comprehensive enforcement action using our
               technology and strengthen partnerships with our peers. Ofthose suspensions,87%
               consisted of accounts we proactively flagged using internal, proprietary removal tools.


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               Removal of child sexual exploitation content
               During this reporting period, we suspended a total of 244,188 accounts for violations
               related to child sexual exploitation. Of the unique accounts suspended,91% were
               surfaced by a combination oftechnology solutions (including PhotoDNA and internal,
               proprietary tools).


               Legal requests
               In addition to enforcing the Twitter Rules, we also may take action in response to legal
               requests.


                   • Copyright violations:


               We received a 101% increase in DMCA takedown notices
               fhttps://transoarencv.twitter.cotn/en/copvriaht-notices.htmh since OUr last report. However, many
               were incomplete or not actionable. We continue to see a high volume offraudulent
               DMCA reports from Turkey and Japan, while fraudulent reports from Brazil also continue
               to increase.



                   • Trademark notices:


               We saw a 39% increase in the total number of trademark notices
               rhttps://transparencv.twitter.com/en/trademark-notices.htmh received since OUr last report. The
               increase is likely due to an influx of reports that failed to provide sufficient information to
               take any action on our part.


                   • Information requests(legal requests for account information):


               Information requests (https://transparency.twitter.com/en/information-requests.htmn from
               the United States continue to make up the highest percentage of legal requests for
               account information. During this reporting period,29% of all global requests for account
               information originated within the United States.


                   • National security requests:


               At this time we are only able to share information about the number of National Security
               Letters(NSLs)received which are no longer subject to non-disclosure orders. We
               believe it is much more meaningful to publish these actual numbers than reporting in the
               bands authorized per the USA Freedom Act rhttps://www.conQress.aov/biii/ii4th-
               conaress/house-biii/2048/text?overview=ciosedi. Our litigation in the case Twitter V. Barr
               fhttps://blpa.twitter.com/official/en us/a/2014/takina-the-ficht-for-transparencv-to-court.htmh continues.

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                During this reporting period, we notified people affected by three additional NSLs after
               the gag orders were lifted. As reflected in the report, non-disclosure orders for 17 total
                NSLs have been lifted to date. Twitter is committed to continuing to use the legal
                mechanism available to us to request a judicial review of these gag orders.

                    • Removal requests (legal requests for content removal)*:

               Compared to the previous reporting period, we received roughly67% more legal
               requests fhttPs://transDarencv.twitter.com/en/removal-reauests.htmh tO remove content,
               originating from 49 different countries. Of the requests received,80% of the volume
               originated from Japan, Russia, and Turkey. We withheld content in a country 2,457
               times, at either an account or Tweet level.


               *We continue to publish these legal requests \Mien i/ie take action directly to the
               Lumen Database fhttDs://www.iumendatabase.ora/). a partnership w'th Han/ard's Berkman
               Klein Center for Intemet & Society.


               We remain deeply committed to transparency at Twitter— it continues to be one of our
               key guiding principles. This commitment is reflected in the evolution and expansion of
               the report in recent years: It now includes dedicated sections on platform manipulation
               and spam, our Twitter Rules enforcement, and state-backed information operations
               we've previously removed from the service.


               This report reflects not only the evolution of the public conversation on our service but
               the work we do every day to protect and support the people who use Twitter. Follow
               @Policy rhttDs://twitter.com/policvl and @TwitterSafety fhttDsi/Ztwittercom/TwitterSafetv^ for
               relevant updates, initiatives or announcements regarding our efforts.




               (https://www.twitter.com/Twitter1
               Twitter Inc.




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